                                                                                                                                                                 Case 18-10474-LSS        Doc 448     Filed 10/05/18    Page 1 of 9


                                                                                                                                                                                         Claims Register Report
                                                                                                                                                                                   Date Range:03/06/2018-10/05/2018




 Date Filed Claim No.               Creditor Name                                Creditor Notice Name                  Address 1                           Address 2                        Address 3                        City              State      Zip          Country   Claim Amount             Nature       A R   A/R Date               Debtor Name               Debtor Number
                         2850 PARKWAY GENERAL
 05/18/2018          237 PARTNERSHIP                                 C/O ROBBINS PROPERTIES                3100 WEST END AVE STE1070                                                                              NASHVILLE               TN           37203                           $6,695.00 General Unsecured                      Big Dog USA, Inc.                     18-10476
                         A BRIGHTER OUTLOOK WINDOW
 04/24/2018           99 CLEANING, LLC                                                                     1901 FLINTWOOD DRIVE                                                                                   HENRICO                 VA           23238                              $68.00 Priority                               The Walking Company Holdings, Inc.    18-10474
 04/18/2018           56 A LOT A CLEAN                                                                     PO BOX 284                                                                                             LEES SUMMIT             MO           64063-0000                         $45.00 General Unsecured                      The Walking Company                   18-10475
                                                                                                           No. 168 Guanghui Road, Luwu
 05/07/2018          180 AA Footwear Co. Ltd                                                               Industrial                                                                                             New Village, Wanjiang   Dongguan                  China            $615,576.52 General Unsecured                      The Walking Company Holdings, Inc.    18-10474
                                                                                                           No. 168 Guanchui Road Luwu
 05/15/2018          221 AA Footwear Co., Ltd                                                              Industrial                                                                                             New Village, Wanjiang   Donnguan                  China            $615,576.52 General Unsecured     A     05/11/2018 The Walking Company Holdings, Inc.    18-10474
 05/25/2018          331 ACE WINDOW WASHING                                                                PO BOX 825                                                                                             SARASOTA                FL           34230-0000                       $206.00 General Unsecured                       The Walking Company Holdings, Inc.    18-10474
                         AEI Naperplace, LLC and Ben Adam                                                  Buchalter, A Professional
 05/21/2018          269 Trainer and Laurie Ruth Trainer             Brian T. Harvey, Esq.                 Corporation                         1000 Wilshire Blvd., Suite 1500                                    Los Angeles             CA           90017                          $56,893.35 General Unsecured                      The Walking Company                   18-10475
                         AIG Property Casualty, Inc. and its
                         Affiliates Identified on the Addendum
 04/11/2018           41 hereto                                      Attn Kevin J. Larner, Esq             80 Pine Street, 13th Floor                                                                             New York                NY           10005                     UNLIQUIDATED General Unsecured                         The Walking Company Holdings, Inc.    18-10474
                         AIG Property Casualty, Inc. and its
                         Affiliates Identified on the Addendum
 04/11/2018           41 hereto                                      Attn Kevin J. Larner, Esq             80 Pine Street, 13th Floor                                                                             New York                NY           10005                     UNLIQUIDATED      Admin Priority                       The Walking Company Holdings, Inc.    18-10474
 08/31/2018          415 Alameda County Tax Collector                                                      1221 Oak Street                                                                                        Oakland                 CA           94612                          $1,184.52    Secured                              The Walking Company Holdings, Inc.    18-10474
 05/22/2018          280 Alderwood Mall L.L.C.                       c/o GGP Limited Partnership           350 N. Orleans St., Suite 300                                                                          Chicago                 IL           60654                            $381.24    General Unsecured                    The Walking Company                   18-10475
 04/23/2018           77 Allen County Treasurer                                                            1 East Main Street, Suite 104                                                                          Fort Wayne              IN           46802-1888                     $1,480.26    Priority                             The Walking Company                   18-10475
 04/20/2018           67 Ameer Righthand                                                                   432 Meadowbrook Avenue                                                                                 Ridgewood               NJ           07450                            $114.00    General Unsecured                    The Walking Company Holdings, Inc.    18-10474
 04/03/2018           31 Ameren Missouri                             Bankruptcy Desk MC 310                PO Box 66881                                                                                           Saint Louis             MO           63166                          $1,147.56    General Unsecured                    The Walking Company Holdings, Inc.    18-10474
 05/14/2018          209 AMERICAN STORAGE TRAILERS                                                         292 BROOKVIEW ROAD                                                                                     STATESVILLE             NC           28625-0000                     $1,125.00    General Unsecured                    The Walking Company                   18-10475
 05/03/2018          165 Angela Reynolds                                                                   520 College Dr. Apt. 112                                                                               Henderson               NV           89015                          $1,000.00    General Unsecured                    The Walking Company Holdings, Inc.    18-10474
 07/02/2018          369 Angela Sims                                                                       10511 Cedar Lk Rd                                                                                      Hopkins                 MN           55305                              $0.00    Priority                             The Walking Company Holdings, Inc.    18-10474
 05/01/2018          148 Annapolis Mall Owner LLC                    Attn Niclas A. Ferland                LeClairRyan, PLLC                   545 Long Wharf Drive, 9th Floor                                    New Haven               CT           06511                          $2,578.62    General Unsecured                    The Walking Company                   18-10475
 09/06/2018          417 Anne Arundel County, Maryland               Anne Arundel County Finance Office    PO Box 2700, MS 1103                                                                                   Annapolis               MD           21404                            $151.07    Priority                             The Walking Company Holdings, Inc.    18-10474
 05/22/2018          276 Apache Mall, LLC                            c/o GGP Limited Partnership           350 N. Orleans St., Suite 300                                                                          Chicago                 IL           60654-1607                   $130,052.21    General Unsecured                    The Walking Company                   18-10475

 05/22/2018          277 Arden Fair Associates, L.P.                 Dustin P. Branch, Esq                 Ballard Spahr LLP                   2029 Century Park East, Suite 800                                  Los Angeles             CA           90067                          $20,826.93 Admin Priority                         The Walking Company                   18-10475

 05/22/2018          277 Arden Fair Associates, L.P.                 Dustin P. Branch, Esq                 Ballard Spahr LLP                   2029 Century Park East, Suite 800                                  Los Angeles             CA           90067                          $31,113.35 General Unsecured                      The Walking Company                   18-10475

 05/22/2018          302 Arrowhead Towne Center LLC                  Dustin P. Branch, Esq.                Ballard Spahr LLP                   2029 Century Park East, Suite 800                                  Los Angeles             CA           90067                          $11,988.54 Admin Priority                         The Walking Company                   18-10475

 05/22/2018          302   Arrowhead Towne Center LLC                Dustin P. Branch, Esq.                Ballard Spahr LLP                   2029 Century Park East, Suite 800                                  Los Angeles             CA           90067                          $38,912.72   General Unsecured                    The Walking Company                   18-10475
 05/01/2018          152   ATT Corp.                                 Karen A. Cavagnaro, Lead Paralegal    c/o ATT Services Inc.               One ATT Way, Room 3A104                                            Bedminster              NJ           07921                           $1,317.80   General Unsecured                    Big Dog USA, Inc.                     18-10476
 05/01/2018          154   ATT Corp.                                 Karen A. Cavagnaro, Lead Paralegal    c/o ATT Services Inc.               One ATT Way, Room 3A104                                            Bedminster              NJ           07921                          $27,328.12   General Unsecured                    The Walking Company                   18-10475
 05/09/2018          187   Avista Utilities                                                                PO Box 3727 MSC 34                                                                                     Spokane                 WA           99220                            $302.80    General Unsecured                    The Walking Company Holdings, Inc.    18-10474
                           BALLARD ROSENBERG GOLPER                                                        15760 VENTURA BLVD, 18TH
 04/25/2018          105   SAVITT LLP                                J FUCHSMAN                            FLOOR                                                                                                  ENCINO                  CA           91436                            $714.00    General Unsecured                    The Walking Company                   18-10475
 04/16/2018           61   Baltimore Gas and Electric Co                                                   PO Box 1475                                                                                            Baltimore               MD           21201                            $779.38    General Unsecured                    The Walking Company Holdings, Inc.    18-10474
 04/16/2018           62   Baltimore Gas and Electric Co                                                   PO Box 1475                                                                                            Baltimore               MD           21201                            $433.85    General Unsecured                    The Walking Company Holdings, Inc.    18-10474
 03/30/2018           24   Barbara Anne Owens                                                              7844 McConnell Ave                                                                                     Los Angeles             CA           90045                           $3,500.00   General Unsecured                    The Walking Company Holdings, Inc.    18-10474

 04/17/2018           52 Barbara Feinberg                                                                  23801 Calabasas Road, Suite 2001                                                                       Calabasas               CA           91302                             $411.24 General Unsecured                      The Walking Company Holdings, Inc.    18-10474
                         Battlefield Mall, LLC, a Delaware Limited
 03/28/2018           19 Liability Company                           Simon Property Group, L.P             225 West Washington Street                                                                             Indianapolis            IN           46204                             $100.00 Admin Priority                         The Walking Company Holdings, Inc.    18-10474
                                                                                                                                               5800 N. Bayshore Drive, Suite A-
 05/18/2018          239   Bayshore Town Center                      Attn Scott Laslo                      Bayshore Town Center                256                                                                Glendale                WI           53217                            $222.45    General Unsecured                    The Walking Company Holdings, Inc.    18-10474
 05/17/2018          229   BEI-Beach                                 c/o Brian Autry                       704 East McBee Avenue                                                                                  Greenville              SC           29601                          $98,220.66   General Unsecured                    The Walking Company Holdings, Inc.    18-10474
 04/17/2018           47   Bellevue Associates                       Jeffrey Kurtzman, Esquire             401 S. 2nd Street, Suite 200                                                                           Philadelphia            PA           19147                           $5,097.21   Admin Priority                       The Walking Company                   18-10475
 04/17/2018           47   Bellevue Associates                       Jeffrey Kurtzman, Esquire             401 S. 2nd Street, Suite 200                                                                           Philadelphia            PA           19147                           $7,345.63   General Unsecured                    The Walking Company                   18-10475
                           BELLSOUTH TELECOMMUNICATIONS,
 05/01/2018          151   INC.                                      KAREN A. CAVAGNARO-LEAD PARALEGAL ATT SERVICES, INC                       ONE ATT WAY, ROOM 3A104                                            BEDMINSTER              NJ           07921                           $1,110.56 General Unsecured                      Big Dog USA, Inc.                     18-10476
                           BELLSOUTH TELECOMMUNICATIONS,
 05/16/2018          224   INC.                                      KAREN A. CAVAGNARO-LEAD PARALEGAL ATT SERVICES, INC                       ONE ATT WAY, ROOM 3A104                                            BEDMINSTER              NJ           07921                            $490.49    General Unsecured                    The Walking Company                   18-10475
 04/30/2018          120   BENTON PUD                                                                  2721 W. 10TH. AVE.                      PO BOX 6270                                                        KENNEWICK               WA           99336-0000                       $171.13    General Unsecured                    The Walking Company                   18-10475
 05/21/2018          263   Big Box Property Owner E, LLC             c/o Exeter Property Group         101 W. Elm Street, Suite 600                                                                               Conshohocken            PA           19428                     UNLIQUIDATED      General Unsecured                    The Walking Company Holdings, Inc.    18-10474
 05/02/2018          156   BLUARC DESIGN, LLC                        DOUG COX                          9436 ASHFORD PLACE                                                                                         BRENTWOOD               TN           37027                          $3,410.00    General Unsecured                    The Walking Company Holdings, Inc.    18-10474

 04/10/2018           38 BMW Financial Services NA, LLC              c/o AIS Portfolio Services, LP        4515 N Santa Fe Ave. Dept. APS                                                                         Oklahoma City           OK           73118                          $49,228.74 General Unsecured                      The Walking Company                   18-10475
                                                                                                           255 West Santa Clara St., Suite
 04/23/2018           97 Bohannon Development Company                Catherine Schlomann Robertson         1500                                                                                                   San Jose                CA           95113                          $16,451.26   General Unsecured                    The Walking Company Holdings, Inc.    18-10474
 07/25/2018          388 Bohn & Battey, PLC                          Geoffrey M. Bohn, Esq.                PO Box 101685                                                                                          Arlington               VA           22210                         $211,154.93   General Unsecured                    The Walking Company                   18-10475
 04/18/2018           57 Brianna Brown                                                                     2847 N 25th St                                                                                         Miwaukee                WI           53206                           $1,500.00   Priority                             The Walking Company Holdings, Inc.    18-10474
 05/11/2018          199 BRINKS, INC.                                ACCOUNTS RECEIVABLE                   PO BOX 101031                                                                                          ATLANTA                 GA           30392-1031                       $264.57    General Unsecured                    The Walking Company Holdings, Inc.    18-10474
                         Brookfield Square Joint Venture, by CBL &
                         Associates Management, Inc, as Managing
 05/01/2018          128 Agent                                       Caleb Holzaepfel                      736 Georgia Avenue, Suite 300                                                                          Chattanooga             TN           37402                          $13,904.42 Admin Priority                         The Walking Company                   18-10475
                         Brookfield Square Joint Venture, by CBL &
                         Associates Management, Inc, as Managing
 05/01/2018          128 Agent                                       Caleb Holzaepfel                      736 Georgia Avenue, Suite 300                                                                          Chattanooga             TN           37402                          $19,252.28 General Unsecured                      The Walking Company                   18-10475
                                                                                                           Broward County Records, Taxes &
 04/16/2018           45 Broward County                              Attn Bankruptcy Section               Treasury                        115 S. Andrews Ave. #A-100                                             Ft. Lauderdale          FL           33301                            $241.49 Priority                                The Walking Company Holdings, Inc.    18-10474
 08/01/2018          397 CALEV SYSTEMS, LLC                          KRISTINE VIERA                        333 SOUTH MIAMI AVE             SUITE 101                                                              MIAMI                   FL           33130-0000                     $96,234.00 General Unsecured                      The Walking Company                   18-10475
 05/21/2018          264 CAP AMERICA, INC.                                                                 PO BOX 840176                                                                                          KANSAS CITY             MO           64184-0176                      $3,383.14 General Unsecured                      The Walking Company Holdings, Inc.    18-10474

 05/22/2018          310 Capital Mall LP                             Dustin P. Branch, Esq.                Ballard Spahr LLP                   2029 Century Park East, Suite 800                                  Los Angeles             CA           90067                          $12,332.33 Admin Priority                         The Walking Company                   18-10475

 05/22/2018          310   Capital Mall LP                           Dustin P. Branch, Esq.                Ballard Spahr LLP                   2029 Century Park East, Suite 800                                  Los Angeles             CA           90067                          $20,891.76   General Unsecured                    The Walking Company                   18-10475
 05/30/2018          333   Carol Miller                                                                    P.O. Box 20622                                                                                         Seattle                 WA           98102                            $173.55    General Unsecured                    The Walking Company                   18-10475
 05/31/2018          334   Carol Miller                                                                    P.O. Box 20622                                                                                         Seattle                 WA           98102-0000                       $173.55    Priority                             The Walking Company                   18-10475
 04/30/2018          121   CAROL TENSEN                                                                    1534 N AVON ST                                                                                         BURBANK                 CA           91505-0000                       $120.40    General Unsecured                    The Walking Company                   18-10475

 05/18/2018          251 Carousel Center Company, L.P.               Attn Kevin M. Newman                  Menter, Rudin & Trivelpiece, P.C.   308 Maltbie Street, Suite 200                                      Syracuse                NY           13204-1439                UNLIQUIDATED General Unsecured                         The Walking Company                   18-10475

 05/18/2018          252 Carousel Center Company, L.P.               Attn Kevin M. Newman                  Menter, Rudin & Trivelpiece, P.C.   308 Maltbie Street, Suite 200                                      Syracuse                NY           13204-1439                UNLIQUIDATED General Unsecured                         The Walking Company                   18-10475

 05/18/2018          259 Carousel Center Company, L.P.               Attn Kevin M. Newman                  Menter, Rudin & Trivelpiece, P.C.   308 Maltbie Street, Suite 200                                      Syracuse                NY           13204-1439                UNLIQUIDATED Admin Priority                            The Walking Company                   18-10475




In re The Walking Company Holdings, Inc.                                                                                                                                                                                                                                                                                                                                       10/5/2018 6:13 PM
Case No. 18-10474 (LSS)                                                                                                                                                                      Page 1 of 9                                                                                                                                                          Claims Register by Name 181005
                                                                                                                                                                          Case 18-10474-LSS        Doc 448     Filed 10/05/18       Page 2 of 9


                                                                                                                                                                                                  Claims Register Report
                                                                                                                                                                                            Date Range:03/06/2018-10/05/2018




 Date Filed Claim No.                    Creditor Name                            Creditor Notice Name                           Address 1                          Address 2                        Address 3                        City             State      Zip       Country   Claim Amount                   Nature   A R   A/R Date               Debtor Name               Debtor Number
                           Cary Venture Limited Partnership, by CBL
                           & Associates Management, Inc, as
 05/01/2018          127   Managing Agent                             Caleb Holzaepfel                              736 Georgia Avenue, Suite 300                                                                          Chattanooga            TN           37402                          $7,061.85 Admin Priority                         The Walking Company                   18-10475
                           Cary Venture Limited Partnership, by CBL
                           & Associates Management, Inc, as
 05/01/2018          127   Managing Agent                             Caleb Holzaepfel                              736 Georgia Avenue, Suite 300                                                                          Chattanooga            TN           37402                          $2,042.54 General Unsecured                      The Walking Company                   18-10475
 05/04/2018          171   CCI OFFICE TECHNOLOGIES                                                                  PO BOX 21228 DEPT.#90                                                                                  TULSA                  OK           74121-1228                      $180.12 General Unsecured                       The Walking Company                   18-10475
                           CHATHAM COUNTY TAX
 04/27/2018          112   COMMISSIONER                               ATTN THERESA C. HARRELSON                     POST OFFICE BOX 8324                                                                                   SAVANNAH               GA           31412                          $1,243.47   Priority                             The Walking Company                   18-10475
 03/16/2018            5   Cherry Hill Center, LLC                    Jeffrey Kurtzman, Esquire                     401 S. 2nd Street, Suite 200                                                                           Philadelphia           PA           19147                         $20,753.98   Admin Priority                       The Walking Company                   18-10475
 03/16/2018            5   Cherry Hill Center, LLC                    Jeffrey Kurtzman, Esquire                     401 S. 2nd Street, Suite 200                                                                           Philadelphia           PA           19147                         $22,532.11   General Unsecured                    The Walking Company                   18-10475
 05/22/2018          282   Christiana Mall, LLC                       c/o GGP Limited Partnershp                    350 N. Orleans St., Suite 300                                                                          Chicago                IL           60654                           $525.00    General Unsecured                    The Walking Company                   18-10475
 05/22/2018          283   Christiana Mall, LLC                       c/o GGP Limited Partnershp                    350 N. Orleans St., Suite 300                                                                          Chicago                IL           60654-1607                      $525.00    General Unsecured                    The Walking Company                   18-10475
 05/07/2018          190   City & County of Broomfield                Attn Andrew Post                              One Des Combes Drive                                                                                   Broomfield             CO           80020                           $342.67    Secured                              The Walking Company Holdings, Inc.    18-10474
                                                                                                                    201 W. Colfax Ave., Department
 04/02/2018           25   City and County of Denver/Treasury         Attn Jennifer Maldonado, Bankruptcy Analyst   1001                                                                                                   Denver                 CO           80202                            $942.99   Secured                              The Walking Company Holdings, Inc.    18-10474
 05/30/2018          335   CITY OF AUSTIN                                                                           PO BOX 2267                                                                                            AUSTIN                 TX           78783-2267                       $350.68   General Unsecured                    The Walking Company                   18-10475
 08/30/2018          412   CITY OF BROOKFIELD                                                                       2000 N. CALHOUN RD.                                                                                    BROOKFIELD             WI           53005-5095                       $104.23   General Unsecured                    The Walking Company Holdings, Inc.    18-10474
 08/30/2018          413   CITY OF BROOKFIELD                                                                       2000 N. CALHOUN RD.                                                                                    BROOKFIELD             WI           53005-5095                        $48.58   Priority                             The Walking Company Holdings, Inc.    18-10474
                                                                                                                    13500 Watertown Plank Rd Ste
 08/22/2018          410   City of Glendale                           John F. Fuchs                                 100                                                                                                    Elm Grove              WI           53122                           $582.99    Priority                             The Walking Company Holdings, Inc.    18-10474
 06/26/2018          364   CITY OF KENNEWICK                          UTILITIES                                     PO BOX 6108                                                                                            KENNEWICK              WA           99336-0108                      $744.91    General Unsecured                    The Walking Company                   18-10475
 07/13/2018          375   CITY OF MADISON                            ATTN CITY TREASURER                           PO BOX 20                                                                                              MADISON                WI           53701                           $777.54    Secured                              The Walking Company                   18-10475
 05/15/2018          220   City of Norfolk - Treasurer                                                              PO Box 3215                                                                                            Norfolk                VA           23514                           $874.96    Secured                              The Walking Company Holdings, Inc.    18-10474
 06/21/2018          360   Clark County Assessor                      Bankruptcy Clerk                              500 S Grand Central Pkwy            PO Box 551401                                                      Las Vegas              NV           89155-1401                      $351.69    Secured                              The Walking Company Holdings, Inc.    18-10474
 04/27/2018          111   CLARK PUBLIC UTILITIES                                                                   PO BOX 8989                                                                                            VANCOUVER              WA           98668                           $244.66    General Unsecured                    The Walking Company                   18-10475
 03/19/2018           11   Clearview Building Services LLC                                                          6440 SW 42nd Street                                                                                    Davie                  FL           33314                           $117.45    General Unsecured                    The Walking Company Holdings, Inc.    18-10474
 04/24/2018           91   CLINICAL LABORATORY SRV, INC.                                                            102 LINCOLN MEDICAL PARK            1446 EAST GASTON ST                                                LINCOLNTON             NC           28092                           $605.00    General Unsecured         02/28/2018 The Walking Company                   18-10475
 05/10/2018          196   Collin County Tax Assessor/ Collector      Gay, McCall, Roberts and Minett, P.C          777 E. 15th St.                                                                                        Plano                  TX           75074                          $3,933.96   Secured                              The Walking Company Holdings, Inc.    18-10474
 05/11/2018          246   Commonwealth Edison Company                ComEd Bankruptcy Department                   1919 Swift Drive                                                                                       Oakbrook Terrace       IL           60523                          $1,678.72   General Unsecured                    The Walking Company Holdings, Inc.    18-10474

                         Commonwealth of Massachusetts
 05/29/2018          332 Department of Unemployment Assistance        Attn Meaghan Caccavelli                       Bankruptcy Unit                     19 Staniford St. 3rd Floor                                         Boston                 MA           02114                          $6,293.97 Priority                               The Walking Company Holdings, Inc.    18-10474
                         Consolidated Edison Company of New
 06/19/2018          359 York, Inc.                                   Bankruptcy Group                              4 Irving Place, Room 1875-S                                                                            New York               NY           10003                          $1,398.38 General Unsecured                      The Walking Company Holdings, Inc.    18-10474
                         Contra Costa County Treasurer-Tax
 08/09/2018          401 Collector                                    Contra Costa County Tax Collector             PO Box 967                                                                                             Martinez               CA           94553                          $3,564.31 Priority                               The Walking Company Holdings, Inc.    18-10474
                         Contra Costa County Treasurer-Tax
 08/09/2018          402 Collector                                    Contra Costa County Tax Collector             PO Box 967                                                                                             Martinez               CA           94553                          $5,593.30 Priority                               The Walking Company                   18-10475

 05/23/2018          324 Coroc / Myrtle Beach L.L.C.                                                                3200 Northline Avenue, Suite 360                                                                       Greensboro             NC           03109                         $18,119.45 General Unsecured                      The Walking Company Holdings, Inc.    18-10474
                                                                                                                    200 East Long Lake Road Suite
 05/11/2018          201 Country Club Plaza JV LLC                    Andrew S. Conway                              300                                                                                                    Bloomfield Hills       MI           48304                         $10,440.25 Admin Priority                         The Walking Company Holdings, Inc.    18-10474
                                                                                                                    200 East Long Lake Road Suite
 05/11/2018          201 Country Club Plaza JV LLC                    Andrew S. Conway                              300                                                                                                    Bloomfield Hills       MI           48304                         $38,853.90 General Unsecured                      The Walking Company Holdings, Inc.    18-10474
 07/16/2018          379 County of Orange                                                                           PO Box 4515                                                                                            Santa Ana              CA           92702                         $14,328.79 Priority              A     04/30/2018 The Walking Company Holdings, Inc.    18-10474
                                                                                                                    268 West Hospitality Lane, 1st
 04/03/2018           27   County of San Bernardino                   Office of The Tax Collector                   Floor                                                                                                  San Bernardino         CA           92415                          $2,592.31   General Unsecured                    The Walking Company Holdings, Inc.    18-10474
 03/23/2018            8   County or Orange                           County of Orange                              PO Box 4515                                                                                            Santa Ana              CA           92702                          $7,083.46   Priority                             The Walking Company Holdings, Inc.    18-10474
 04/30/2018          124   County or Orange                           County of Orange                              PO Box 4515                                                                                            Santa Ana              CA           92702                          $8,500.21   Priority            A     03/23/2018 The Walking Company Holdings, Inc.    18-10474
 04/30/2018          124   County or Orange                           County of Orange                              PO Box 4515                                                                                            Santa Ana              CA           92702                          $7,083.46   General Unsecured   A     03/23/2018 The Walking Company Holdings, Inc.    18-10474
 05/22/2018          278   CP Commercial Delaware, LLC                Attn Legal Department                         1350 W. 3rd Street                                                                                     Cleveland              OH           44113                        $132,397.43   General Unsecured                    The Walking Company Holdings, Inc.    18-10474
 06/08/2018          347   CROFT BRADLEY                                                                            304 WILMINGTON RD                                                                                      GREENVILLE             SC           29615-0000                      $104.95    General Unsecured                    FootSmart, Inc.                       18-10477
                           Crossgates Mall General Company
 05/18/2018          248   NewCo, LLC                                 Attn Kevin M. Newman                          Menter, Rudin & Trivelpiece, P.C.   308 Maltbie Street, Suite 200                                      Syracuse               NY           13204-1439             UNLIQUIDATED Admin Priority                              The Walking Company                   18-10475
                           Crossgates Mall General Company
 05/18/2018          249   NewCo, LLC                                 Attn Kevin M. Newman                          Menter, Rudin & Trivelpiece, P.C.   308 Maltbie Street, Suite 200                                      Syracuse               NY           13204-1439             UNLIQUIDATED General Unsecured                           The Walking Company                   18-10475
                           Crossgates Mall General Company
 05/18/2018          250   NewCo, LLC                                 Attn Kevin M. Newman                          Menter, Rudin & Trivelpiece, P.C.   308 Maltbie Street, Suite 200                                      Syracuse               NY           13204-1439             UNLIQUIDATED General Unsecured                           The Walking Company                   18-10475
 05/10/2018          195   CSHV HCG Retail, LLC                       c/o Preston Pillsbury                         CBRE Asset Services                 8080 Park Lane, Suite 800                                          Dallas                 TX           75231                        $6,144.19 General Unsecured                        The Walking Company                   18-10475
 04/23/2018           79   CVM Holdings, LLC                                                                        4325 Glenwood Avenue                                                                                   Raleigh                NC           27612                       $12,513.16 General Unsecured                        The Walking Company                   18-10475
                                                                                                                    Linebarger Goggan Blair &           2777 N. Stemmons Freeway, Suite
 03/12/2018            2 Dallas County                                Elizabeth Weller                              Sampson, LLP                        1000                                                               Dallas                 TX           75207                          $1,089.15 Secured                                The Walking Company                   18-10475
                                                                                                                    Linebarger Goggan Blair &           2777 N. Stemmons Freeway, Suite
 06/11/2018          348 Dallas County                                Elizabeth Weller                              Sampson, LLP                        1000                                                               Dallas                 TX           75207                       $7,849.30 Secured                  A     03/07/2018 The Walking Company                   18-10475
 05/26/2018          325 DaMira Hurt                                                                                517 S 6th St                                                                                           Camden                 NJ           08103                  BLANK          General Unsecured        A                The Walking Company Holdings, Inc.    18-10474

 05/22/2018          303 Danbury Mall, LLC                            Dustin P. Branch, Esq.                        Ballard Spahr LLP                   2029 Century Park East, Suite 800                                  Los Angeles            CA           90067                         $10,831.07 Admin Priority                         The Walking Company                   18-10475

 05/22/2018          303 Danbury Mall, LLC                            Dustin P. Branch, Esq.                        Ballard Spahr LLP                   2029 Century Park East, Suite 800                                  Los Angeles            CA           90067                       $30,379.04 General Unsecured                        The Walking Company                   18-10475
 05/21/2018          272 DANSKO, LLC                                  PENN BUSINESS PARK                            33 FEDERAL ROAD                                                                                        WEST GROVE             PA           19390-0000                $283,766.98 General Unsecured                         The Walking Company                   18-10475
 05/21/2018          272 DANSKO, LLC                                  PENN BUSINESS PARK                            33 FEDERAL ROAD                                                                                        WEST GROVE             PA           19390-0000               $1,303,445.95 Admin Priority                           The Walking Company                   18-10475

 05/22/2018          286 DDR Deer Park Town Center LLC                Dustin P. Branch, Esq.                        Ballard Spahr LLP                   2029 Century Park East, Suite 800                                  Los Angeles            CA           90067                          $8,078.38 Admin Priority                         The Walking Company                   18-10475

 05/22/2018          286 DDR Deer Park Town Center LLC                Dustin P. Branch, Esq.                        Ballard Spahr LLP                   2029 Century Park East, Suite 800                                  Los Angeles            CA           90067                         $14,875.33 General Unsecured                      The Walking Company                   18-10475
                         Department of the Treasury - Internal
 04/04/2018           29 Revenue Service                              Internal Revenue Service                      PO Box 7346                                                                                            Philadelphia           PA           19101-7346             W/D                 Priority                             The Walking Company Holdings, Inc.    18-10474
                         Department of Water and Power, City of
 07/12/2018          373 Los Angeles                                  Attn Bankruptcy                               P.O. Box 51111                                                                                         Los Angeles            CA           90051-5700                       $316.92 General Unsecured                      The Walking Company                   18-10475
                                                                                                                    555 TWIN DOLPHIN DRIVE,
 06/05/2018          341 DOLLINGER VENTURA ASSOCIATES                 KIM GROVER                                    SUITE 600                                                                                              REDWOOD CITY           CA           94065                         $57,477.75 General Unsecured                      The Walking Company                   18-10475
                                                                                                                    555 TWIN DOLPHIN DRIVE,
 06/05/2018          341 DOLLINGER VENTURA ASSOCIATES                 KIM GROVER                                    SUITE 600                                                                                              REDWOOD CITY           CA           94065                          $3,376.65   Priority                             The Walking Company                   18-10475
 08/01/2018          396 Dongguan TUK Trading Co LTD                  Ian White                                     12300 Crosthwaite Circle                                                                               Poway                  CA           92064                          $3,550.00   General Unsecured   A                The Walking Company                   18-10475
 09/11/2018          420 Douglas County Tax Comissioner                                                             PO Box 1177                                                                                            Douglasville           GA           30133                           $516.72    Priority            A     05/21/2018 The Walking Company Holdings, Inc.    18-10474
 04/04/2018           28 Douglas County Treasurer                                                                   100 Third St, Ste 120                                                                                  Castle Rock            CO           80104                           $149.81    Secured                              The Walking Company Holdings, Inc.    18-10474
 04/04/2018           30 Douglas County Treasurer                                                                   100 Third St, Ste 120                                                                                  Castlerock             CO           80104                  W/D                 Secured                              The Walking Company                   18-10475
 04/04/2018           30 Douglas County Treasurer                                                                   100 Third St, Ste 120                                                                                  Castlerock             CO           80104                  W/D                 Priority                             The Walking Company                   18-10475
                         DOUGLAS COUNTY,GA TAX
 05/21/2018          260 COMMISSIONER                                                                               PO BOX 1177                                                                                            DOUGLASVILLE           GA           30133                           $526.77 Priority                                FootSmart, Inc.                       18-10477
 04/27/2018          108 Duane Hamilton                                                                             216 Halston Pkwy                                                                                       E Amherst              NY           14051-0000                      $135.88 General Unsecured                       The Walking Company                   18-10475
 05/04/2018          166 Duke Energy Carolinas                        Lynn M. Colombo                               550 S Tryon Street                  DEF45A - Legal Bankruptcy                                          Charlotte              NC           28202                          $9,791.04 General Unsecured                      The Walking Company Holdings, Inc.    18-10474


In re The Walking Company Holdings, Inc.                                                                                                                                                                                                                                                                                                                                              10/5/2018 6:13 PM
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 Date Filed Claim No.               Creditor Name                               Creditor Notice Name                     Address 1                           Address 2                          Address 3                       City          State       Zip         Country   Claim Amount               Nature     A R   A/R Date               Debtor Name              Debtor Number
 05/04/2018       168 Duke Energy Florid                            Lynn M. Colombo                           550 S Tryon Street                   DEC45A - Legal Bankruptcy                                          Charlotte            NC         28202                            $506.03    General Unsecured                    The Walking Company Holdings, Inc.   18-10474
 05/04/2018       167 Duke Energy Ohio                              Lynn M. Colombo                           550 S Tryon Street                   DEF45A - Legal Bankruptcy                                          Charlotte            NC         28201                            $684.06    General Unsecured                    The Walking Company Holdings, Inc.   18-10474
 05/22/2018       291 ECCO USA Inc.                                 c/o Ryan F. Kelley                        Pierce Atwood LLP                    254 Commercial Street                                              Portland             ME         04101                        $449,753.92    Admin Priority                       The Walking Company                  18-10475
 05/16/2018       227 Edgar and Dorothy Leighton                    Richard P. Olson, Esq.                    PO Box 7320                                                                                             Portland             ME         04112-7320                     $9,738.38    Priority                             The Walking Company                  18-10475
 04/23/2018        71 EnergyWorks Lancaster, LLC                                                              2900 K Street, NW, Suite 408                                                                            Washington           DC         20007                          $2,807.91    General Unsecured                    The Walking Company                  18-10475
                      Euler Hermes NA as Agent for Tishkoff
 05/29/2018       326 Enterprises, LLC                                                                        800 Red Brook Blvd, #400C                                                                               Owings Mills         MD         21117                          $31,770.11   General Unsecured                    The Walking Company Holdings, Inc.   18-10474
 04/30/2018       118 EWEB EUGENE WATER/ELECT                                                                 PO BOX 8990                                                                                             VANCOUVER            WA         98668-8990                       $463.28    General Unsecured                    The Walking Company Holdings, Inc.   18-10474
 05/22/2018       266 Fallen Timbers Ohio LLC                       Joshua S. Hackman                         150 Great Neck Road, Suite 304                                                                          Great Neck           NY         11021                           $9,027.34   General Unsecured                    The Walking Company                  18-10475
 06/04/2018       342 FARMINGTON TAX COLLECTOR                                                                1 MONTEITH DRIVE                     TOWN HALL                                                          FARMINGTON           CT         06032-1053                      $1,858.84   Priority                             The Walking Company                  18-10475
                      Fayette Mall SPE, LLC, by CBL &
                      Associates Management, Inc, as Managing
 05/01/2018       130 Agent                                         Caleb Holzaepfel                          736 Georgia Avenue, Suite 300                                                                           Chattanooga          TN         37402                           $5,046.29 Admin Priority                         The Walking Company                  18-10475
                      Fayette Mall SPE, LLC, by CBL &
                      Associates Management, Inc, as Managing
 05/01/2018       130 Agent                                         Caleb Holzaepfel                          736 Georgia Avenue, Suite 300                                                                           Chattanooga          TN         37402                             $970.44 General Unsecured                      The Walking Company                  18-10475
                                                                                                              50 Public Square, Terminal Tower,
 03/22/2018           13 FC Wiregrass SPE, LLC                      Forest City Commericial Management, LLC   Suite 1360                                                                                              Cleveland            OH         44113                           $7,280.05 General Unsecured                      The Walking Company Holdings, Inc.   18-10474

 04/17/2018           48 First Impression Management                                                          437 Robert Parker Coffin Rd Unit 3                                                                      Long Grove           IL         60047                             $177.00 General Unsecured                      The Walking Company                  18-10475
 04/17/2018           53 FISH WINDOW CLEANING -110                                                            PO BOX 1156                                                                                             DANVILLE             CA         94526-0000                        $120.00 Priority                               The Walking Company                  18-10475
 04/17/2018           53 FISH WINDOW CLEANING -110                                                            PO BOX 1156                                                                                             DANVILLE             CA         94526-0000                          $0.00 General Unsecured                      The Walking Company                  18-10475

 05/22/2018          294 Flatiron Property Holding, L.L.C.          Dustin P. Branch, Esq.                    Ballard Spahr LLP                    2029 Century Park East, Suite 800                                  Los Angeles          CA         90067                          $22,270.71 Admin Priority                         The Walking Company                  18-10475

 05/22/2018          294 Flatiron Property Holding, L.L.C.          Dustin P. Branch, Esq.                    Ballard Spahr LLP                    2029 Century Park East, Suite 800                                  Los Angeles          CA         90067                          $41,574.08 General Unsecured                      The Walking Company                  18-10475
                         Florida Mall Associates, Ltd., a Florida
 05/22/2018          307 Limited Partnership                        Simon Property Group, L.P.                225 West Washington Street                                                                              Indianapolis         IN         46204                             $100.00 Admin Priority                         The Walking Company Holdings, Inc.   18-10474
                         Florida Mall Associates, Ltd., a Florida
 05/22/2018          307 Limited Partnership                        Simon Property Group, L.P.                225 West Washington Street                                                                              Indianapolis         IN         46204                         $183,977.40 General Unsecured                      The Walking Company Holdings, Inc.   18-10474
                         Florida Mall Associates, Ltd., a Florida
 05/25/2018          329 Limited Partnership                        Simon Property Group                      225 West Washington Street                                                                              Indianapolis         IN         46204                             $100.00 Admin Priority        A     05/21/2018 The Walking Company Holdings, Inc.   18-10474
                         Florida Mall Associates, Ltd., a Florida
 05/25/2018          329 Limited Partnership                        Simon Property Group                      225 West Washington Street                                                                              Indianapolis         IN         46204                         $235,727.40 General Unsecured     A     05/21/2018 The Walking Company Holdings, Inc.   18-10474
                         Forbes Taubman Orlando, L.L.C. (The Mall
 05/22/2018          315 at Millenia)                               Dustin P. Branch, Esq.                    Ballard Spahr LLP                    2029 Century Park East, Suite 800                                  Los Angeles          CA         90067                          $60,911.89 Admin Priority                         The Walking Company                  18-10475
                         Forbes Taubman Orlando, L.L.C. (The Mall
 05/22/2018          315 at Millenia)                               Dustin P. Branch, Esq.                    Ballard Spahr LLP                    2029 Century Park East, Suite 800                                  Los Angeles          CA         90067                         $416,296.53 General Unsecured                      The Walking Company                  18-10475
                         Forbes Taubman Orlando, L.L.C. (The Mall
 08/13/2018          406 at Millenia)                               Dustin P. Branch, Esq.                    Ballard Spahr LLP                    2029 Century Park East, Suite 800                                  Los Angeles          CA         90067                          $62,273.22 Admin Priority        A                The Walking Company                  18-10475
                         Forbes/Cohen Properties Limited
 05/22/2018          319 Partnership (The Gardens)                  Dustin P. Branch, Esq.                    Ballard Spahr LLP                    2029 Century Park East, Suite 800                                  Los Angeles          CA         90067                          $34,041.54 Admin Priority                         The Walking Company                  18-10475
                         Forbes/Cohen Properties Limited
 05/22/2018          319 Partnership (The Gardens)                  Dustin P. Branch, Esq.                    Ballard Spahr LLP                    2029 Century Park East, Suite 800                                  Los Angeles          CA         90067                          $25,016.96   General Unsecured                    The Walking Company                  18-10475
 04/24/2018           98 Forrest Butch Freeman                      Oklahoma County Treasurer                 320 Robert S. Kerr, Rm 307                                                                              Oklahoma City        OK         73102                     UNLIQUIDATED      Secured                              The Walking Company Holdings, Inc.   18-10474
 04/24/2018           98 Forrest Butch Freeman                      Oklahoma County Treasurer                 320 Robert S. Kerr, Rm 307                                                                              Oklahoma City        OK         73102                     UNLIQUIDATED      General Unsecured                    The Walking Company Holdings, Inc.   18-10474
 04/24/2018           88 FORSYTH COUNTY TAX COLLECTOR                                                         P.O. BOX 82                                                                                             WINSTON SALEM        NC         27102-0082                       $299.99    Priority                             The Walking Company Holdings, Inc.   18-10474
 07/13/2018          374 Franchise Tax Board                        Bankruptcy Section MS A340                PO Box 2952                                                                                             Sacramento           CA         95812-2952                      $1,629.28   Priority                             The Walking Company                  18-10475
 07/13/2018          376 Franchise Tax Board                        Bankruptcy Section MS A340                PO Box 2952                                                                                             Sacramento           CA         95812-2952                          $0.00   General Unsecured                    The Walking Company Holdings, Inc.   18-10474
 07/13/2018          377 Franchise Tax Board                        Bankruptcy Section MS A340                PO Box 2952                                                                                             Sacramento           CA         95812-2952                      $1,629.28   Priority                             Big Dog USA, Inc.                    18-10476
 07/13/2018          378 Franchise Tax Board                        Bankruptcy Section MS A340                PO Box 2952                                                                                             Sacramento           CA         95812-2952                      $1,610.61   Priority                             FootSmart, Inc.                      18-10477
 04/24/2018           94 Fulton County Tax Commissioner                                                       141 Pryor St Suite 1106                                                                                 Atlanta              GA         30303                           $2,485.60   Priority                             The Walking Company Holdings, Inc.   18-10474
                         G & I VIII CBL TTC LLC, by CBL &
                         Associates Management, Inc., as
 05/01/2018          136 Managing Agent                             Caleb Holzaepfel                          736 Georgia Avenue, Suite 300                                                                           Chattanooga          TN         37402                          $13,652.72 Admin Priority                         The Walking Company                  18-10475
                         G & I VIII CBL TTC LLC, by CBL &
                         Associates Management, Inc., as
 05/01/2018          136 Managing Agent                             Caleb Holzaepfel                          736 Georgia Avenue, Suite 300                                                                           Chattanooga          TN         37402                           $3,122.54 General Unsecured                      The Walking Company                  18-10475
                         Galleria Mall Investers LP, a Delaware
 04/23/2018           74 Limited Partnership                        Simon Property Group                      225 West Washington Street                                                                              Indianapolis         IN         46204                             $100.00 Admin Priority                         The Walking Company Holdings, Inc.   18-10474
                         Galleria Mall Investers LP, a Delaware
 04/23/2018           74 Limited Partnership                        Simon Property Group                      225 West Washington Street                                                                              Indianapolis         IN         46204                         $139,381.44   General Unsecured                    The Walking Company Holdings, Inc.   18-10474
 04/17/2018           59 Georgetta S. Arnold                                                                  367 NW Bailey Ave #3                                                                                    Hillsboro            OR         97124-0000                      $1,861.33   Priority                             The Walking Company Holdings, Inc.   18-10474
 04/17/2018           59 Georgetta S. Arnold                                                                  367 NW Bailey Ave #3                                                                                    Hillsboro            OR         97124-0000                       $514.47    General Unsecured                    The Walking Company Holdings, Inc.   18-10474
 05/22/2018          321 GGP - Providence Place, LLC                c/o GGP Limited Partnershp                350 N. Orleans St., Suite 300                                                                           Chicago              IL         60654                         $217,982.01   General Unsecured                    The Walking Company                  18-10475
 05/22/2018          322 GGP Ala Moana L.L.C.                       c/o GGP Limited Partnership               350 N. Orleans St., Suite 300                                                                           Chicago              IL         60654                            $115.98    General Unsecured                    The Walking Company                  18-10475
 05/22/2018          320 GP Corrugated LLC                                                                    133 Peachtree Street, N.E.                                                                              Atlanta              GA         30303                           $9,419.00   Priority                             The Walking Company                  18-10475
 05/25/2018          327 GRANITE TELECOMMUNICATION                  CLIENT ID#311                             PO BOX 983119                                                                                           BOSTON               MA         02298-3119                      $5,645.83   General Unsecured                    The Walking Company                  18-10475
                         GreatAmerica Financial Services
 04/27/2018          116 Corporation                                Attn Peggy Upton                          PO Box 609                                                                                              Cedar Rapids         IA         52406                          $28,883.78 General Unsecured                      The Walking Company                  18-10475
                                                                                                              200 East Long Lake Road, Suite
 05/22/2018          270 Green Hills Mall TRG LLC                   The Taubman Company                       300                                                                                                     Bloomfield Hills     MI         48304                           $7,177.95 Admin Priority                         The Walking Company Holdings, Inc.   18-10474
                                                                                                              200 East Long Lake Road, Suite
 05/22/2018          270 Green Hills Mall TRG LLC                   The Taubman Company                       300                                                                                                     Bloomfield Hills     MI         48304                          $28,292.24 General Unsecured                      The Walking Company Holdings, Inc.   18-10474

 05/15/2018          219 Greene Town Center, LLC                    c/o Michael S. Tucker, Esq.               Ulmer & Berne LLP                    1660 West 2nd Street, Suite 1100                                   Cleveland            OH         44113                           $4,012.59 Admin Priority                         The Walking Company                  18-10475

 05/15/2018          219 Greene Town Center, LLC                    c/o Michael S. Tucker, Esq.               Ulmer & Berne LLP                    1660 West 2nd Street, Suite 1100                                   Cleveland            OH         44113                          $65,436.45 General Unsecured                      The Walking Company                  18-10475
                         Greenwood Park Mall, LLC, a Delaware
 03/28/2018           17 Limited Liability Company                  Simon Property Group, L.P.                225 West Washington Street                                                                              Indianapolis         IN         46204                            $100.00    Admin Priority                       The Walking Company Holdings, Inc.   18-10474
 08/10/2018          403 GREG BLISS                                                                           407 BURKHARTH RD                                                                                        WARRENSBURG          MO         64093                            $118.37    General Unsecured                    The Walking Company                  18-10475
 05/02/2018          160 Gregg Gonzales                                                                       3923 Market St                                                                                          Ventura              CA         93003                            $514.80    General Unsecured                    The Walking Company                  18-10475
 05/18/2018          255 GRIFFITHS INC                                                                        PO BOX 3424                                                                                             HICKORY              NC         28603                           $4,025.80   General Unsecured                    The Walking Company Holdings, Inc.   18-10474
 04/20/2018           68 Gwinnett County Commissioner                                                         PO Box 372                                                                                              Lawrenceville        GA         30046                           $1,626.91   Priority                             The Walking Company                  18-10475
 07/17/2018          380 GXS Inc.                                   c/o Open Text Corporation in Waterloo     275 Frank Tompa Drive                                                                                   Waterloo             ON         N2L 0A1      Canada             $9,032.00   General Unsecured                    The Walking Company Holdings, Inc.   18-10474
                         Hamilton Place Mall General Partnership,
                         by CBL & Associates Management, Inc, as
 05/01/2018          131 Managing Agent                             Caleb Holzaepfel                          736 Georgia Avenue, Suite 300                                                                           Chattanooga          TN         37402                           $5,728.61 Admin Priority                         The Walking Company                  18-10475
                         Hamilton Place Mall General Partnership,
                         by CBL & Associates Management, Inc, as
 05/01/2018          131 Managing Agent                             Caleb Holzaepfel                          736 Georgia Avenue, Suite 300                                                                           Chattanooga          TN         37402                           $7,931.93 General Unsecured                      The Walking Company                  18-10475
                                                                                                              Linebarger Goggan Blair &
 04/13/2018           42 Harris County, et al                       John P. Dillman                           Sampson, LLP                         PO Box 3064                                                        Houston              TX         77253-3064                      $8,188.25 Secured               A     03/07/2018 The Walking Company                  18-10475


In re The Walking Company Holdings, Inc.                                                                                                                                                                                                                                                                                                                                     10/5/2018 6:13 PM
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 Date Filed Claim No.                   Creditor Name                            Creditor Notice Name                         Address 1                            Address 2                         Address 3                         City             State      Zip          Country   Claim Amount                 Nature     A R   A/R Date               Debtor Name               Debtor Number
                                                                                                                  Linebarger Goggan Blair &
 03/08/2018           55 Harris County, et al                        John P. Dillman                              Sampson, LLP                         PO Box 3064                                                         Houston                 TX           77253-3064                W/D               Secured                                The Walking Company                   18-10475
 05/21/2018          244 HAWAII ELECTRIC LIGHT CO                                                                 PO BOX 909                                                                                               HONOLULU                HI           96808-0909                        $1,423.19 General Unsecured                      The Walking Company                   18-10475
                                                                     ROBIN KAWADO-BAL CREDIT
 04/16/2018           51 HAWAIIAN ELECTRIC COMPANY                   SUPERVISOR                                   PO BOX 3978                                                                                              HONOLULU                HI           96812-3978                        $7,582.44 General Unsecured                      The Walking Company                   18-10475

 05/22/2018          279 Hawthorn, L.P.                              Dustin P. Branch, Esq.                       Ballard Spahr LLP                    2029 Century Park East, Suite 800                                   Los Angeles             CA           90067                             $9,231.12 Admin Priority                         The Walking Company                   18-10475

 05/22/2018          279   Hawthorn, L.P.                            Dustin P. Branch, Esq.                       Ballard Spahr LLP                    2029 Century Park East, Suite 800                                   Los Angeles             CA           90067                         $17,121.18      General Unsecured                    The Walking Company                   18-10475
 08/02/2018          399   HAYDEE COLON                                                                           859 N 33RD STREET                                                                                        CAMDEN                  NJ           08105-0000                BLANK               General Unsecured   A                The Walking Company                   18-10475
 04/16/2018           50   Heyward, Lee A.                                                                        400 E 6th Ave, Apt 5                                                                                     Junction City           OR           97448-0000                     $2,124.67      Priority                             The Walking Company                   18-10475
 04/16/2018           50   Heyward, Lee A.                                                                        400 E 6th Ave, Apt 5                                                                                     Junction City           OR           97448-0000                        $67.00      General Unsecured                    The Walking Company                   18-10475
 06/08/2018          346   HIRSCH SOLUTIONS, INC                                                                  490 WHEELER ROAD                     SUITE 285                                                           HAUPPAUGE               NY           11788-0000                     $7,948.00      General Unsecured                    The Walking Company                   18-10475

 05/21/2018          271   Hoan Cau Hoa Binh J.S.C                   Hong Phu (HKG) Co Ltd                        Flat B, 3rd Floor Kelford Mansions   168 Hollywood Road                                                  Central Hong Kong                                 China              $735,918.52   General Unsecured                    The Walking Company Holdings, Inc.    18-10474
 05/21/2018          256   Horry County Treasurer                                                                 PO Box 1828                                                                                              Conway                  SC           29528                              $657.46    Priority                             The Walking Company Holdings, Inc.    18-10474
 05/01/2018          126   Horton Plaza LLC                          Attn Niclas A. Ferland                       LeClairRyan, PLLC                    545 Long Wharf Drive, 9th Floor                                     New Haven               CT           06511                              $120.64    General Unsecured                    The Walking Company                   18-10475
 06/13/2018          352   Horton Plaza LLC                          Attn Niclas A. Ferland                       LeClairRyan, PLLC                    545 Long Wharf Drive, 9th Floor                                     New Haven               CT           06511                             $4,483.74   General Unsecured   A     05/01/2018 The Walking Company                   18-10475
 05/10/2018          192   HYANNIS WATER SYSTEM                                                                   P.O. BOX 731                                                                                             READING                 MA           01867-0405                         $116.63    Secured                              The Walking Company                   18-10475

 05/11/2018          198 IMI Huntsville LLC                          Regan C. Loper, Burr Forman LLP              420 20th Street North Suite 3400                                                                         Birmingham              AL           35203                             $2,512.60 Admin Priority                         The Walking Company                   18-10475

 05/11/2018          198 IMI Huntsville LLC                          Regan C. Loper, Burr Forman LLP              420 20th Street North Suite 3400                                                                         Birmingham              AL           35203                             $5,268.97 General Unsecured                      The Walking Company                   18-10475

 05/18/2018          238   IMI Miracle Mile Mall LLC                 Attn Michael Hogue, Esq.                     Greenberg Traurig, LLP               4 Embarcadero Center, Suite 3000                                    San Francisco           CA           94111                         $20,030.83      General Unsecured                    The Walking Company                   18-10475
 06/11/2018          349   INTERNATIONAL SYSTEMS                     OF AMERICA, LLC.                             PO BOX 99529                                                                                             LOUISVILLE              KY           40269-0529                     $1,925.00      General Unsecured                    The Walking Company                   18-10475
 05/22/2018          292   Jack A D Ambrosio                         Dee-Ann Burdette                             BCSE                                 350 Capitol Street, Room 147                                        Charleston              WV           25031                           $158.65       Priority                             The Walking Company Holdings, Inc.    18-10474
 04/26/2018          110   Jala Burroughs                                                                         4725 Stone Castle Dr.                                                                                    Columbus                OH           43229                     BLANK               General Unsecured                    The Walking Company Holdings, Inc.    18-10474
                                                                                                                  101 Crawfords Corner Rd Bldg #1
 03/23/2018           10 Jersey Central Power & Light                Jersey Central Power and Light FirstEnergy   Suite 1-511                                                                                              Holmdel                 NJ           07733                           $301.59 General Unsecured                          The Walking Company Holdings, Inc.    18-10474
 05/18/2018          235 Jessenia Santana                                                                         4907 Stone Acres Circle                                                                                  Saint Cloud             FL           34771                           $400.00 Priority                                   The Walking Company                   18-10475
 04/19/2018           66 Jessica Garcia                                                                           4637 East Circle dr.                                                                                     Cleveland               TN           37312                     BLANK         General Unsecured                          The Walking Company Holdings, Inc.    18-10474
                         JG Winston-Salem, LLC, by CBL &
                         Associates Management, Inc, as Managing
 05/01/2018          134 Agent                                       Caleb Holzaepfel                             736 Georgia Avenue, Suite 300                                                                            Chattanooga             TN           37402                             $2,672.49 Admin Priority                         The Walking Company                   18-10475
                         JG Winston-Salem, LLC, by CBL &
                         Associates Management, Inc, as Managing
 05/01/2018          134 Agent                                       Caleb Holzaepfel                             736 Georgia Avenue, Suite 300                                                                            Chattanooga             TN           37402                          $1,278.02      General Unsecured                    The Walking Company                   18-10475
 05/01/2018          138 Johnson County Treasurer - IN               Johnson County Treasurer                     86 West Court Street                                                                                     Franklin                IN           46131                           $132.32       Secured                              The Walking Company Holdings, Inc.    18-10474
 04/18/2018           58 Justin Blair and Company                    Marvin Bearak                                4500 W. 31st St                                                                                          Chicago                 IL           60623                          $2,747.38      Priority                             The Walking Company                   18-10475
 04/27/2018          109 Kahala Center Company                       Attn Nancy Newman                            Hanson Bridgett LLP                  425 Market Street, 26th Floor                                       San Francisco           CA           94105                          $8,407.04      Admin Priority                       The Walking Company                   18-10475
 04/27/2018          109 Kahala Center Company                       Attn Nancy Newman                            Hanson Bridgett LLP                  425 Market Street, 26th Floor                                       San Francisco           CA           94105                          $2,730.76      General Unsecured                    The Walking Company                   18-10475
 05/01/2018          157 KAY TUTLE                                                                                1974 N RED SKY DRIVE                                                                                     WASHINGTON              UT           84780-2999                BLANK               General Unsecured                    The Walking Company                   18-10475
 05/01/2018          158 KAY TUTLE                                                                                1974 N RED SKY DRIVE                                                                                     WASHINGTON              UT           84780                     BLANK               General Unsecured                    The Walking Company Holdings, Inc.    18-10474
 05/09/2018          189 KEEN Footwear                               Shawna Arneson                               515 NW 13th Avenue                                                                                       Portland                OR           97209                          $5,098.90      Admin Priority                       The Walking Company                   18-10475
 04/02/2018           33 Kentucky Utilities Company                                                               820 W. Broadway                                                                                          Louisville              KY           40202                           $276.32       General Unsecured                    The Walking Company Holdings, Inc.    18-10474
 03/26/2018           22 Keter Environmental Services, Inc.          Richard Breen                                Keter Environmental                  4 High Ridge Park, Suite 202                                        Stamford                CT           06905                          $8,004.80      General Unsecured                    The Walking Company Holdings, Inc.    18-10474
 04/25/2018          101 Keter Environmental Services, Inc.          R. Breen, Esquire                            Keter Environmental                  4 High Ridge Park, Suite 202                                        Stamford                CT           06905                           $358.08       General Unsecured                    Big Dog USA, Inc.                     18-10476

 05/21/2018          242   Keystone Florida Property Holding Corp.   Mark Trouba                                  2414 East Sunrise Boulevard                                                                              Fort Lauderdale         FL           33304                            $14,524.77   General Unsecured                    The Walking Company                   18-10475
 04/18/2018           60   KIDS FROM THE VALLEY XIV, LLC                                                          PO BOX 55047                                                                                             LOS ANGELES             CA           90055                             $6,548.30   General Unsecured                    The Walking Company                   18-10475
 04/25/2018          100   KING COUNTY TREASURY                                                                   500 4TH AVE # 600                                                                                        SEATTLE                 WA           98104-2340                        $5,845.06   Secured                              The Walking Company                   18-10475
 05/02/2018          161   KLOGS FOOTWEAR                            LATITUDES, INC                               PO BOX 39                                                                                                SULLIVAN                MO           63080                             $2,198.08   General Unsecured                    The Walking Company Holdings, Inc.    18-10474
                                                                                                                  Honigman Miller Schwartz and
 05/02/2018          159 KS Owner, LLC                               Lawrence A. Lichtman, Esq                    Cohn LLP                             2290 First National Building        660 Woodward Avenue             Detroit                 MI           48226                            $10,192.16 General Unsecured                      The Walking Company                   18-10475
                                                                                                                  Honigman Miller Schwartz and
 05/14/2018          211   KS Owner, LLC                             Lawrence A. Lichtman, Esq.                   Cohn LLP                             2290 First National Building        660 Woodward Avenue             Detroit                 MI           48226                            $10,192.16   General Unsecured   A     05/02/2018 The Walking Company                   18-10475
 07/11/2018          372   LaJuan Kinnemore                                                                       3773 Basil Dr.                                                                                           Claremont               NC           28610                            $35,000.00   Priority                             The Walking Company Holdings, Inc.    18-10474
 04/30/2018          122   LAKE COUNTY                               DEPT.OF PUBLIC WORKS                         P.O. BOX 547                                                                                             BEDFORD PARK            IL           60466-0547                           $54.02   General Unsecured                    The Walking Company                   18-10475
 06/07/2018          344   Lane County Tax Collector                                                              125 E. 8th Avenue                                                                                        Eugene                  OR           97401                              $595.28    Secured                              The Walking Company Holdings, Inc.    18-10474
                           Las Vegas South Outlets, LLC, a Nevada
 03/28/2018           20   Limited Liability Company                 Simon Property Group, L.P                    225 West Washington Street                                                                               Indianapolis            IN           46204                               $100.00 Admin Priority                         The Walking Company Holdings, Inc.    18-10474
                           Las Vegas South Outlets, LLC, a Nevada
 04/23/2018           73   Limited Liability Company                 Simon Property Group, L.P                    225 West Washington Street                                                                               Indianapolis            IN           46204                            $256.20      General Unsecured   A     03/28/2018 Big Dog USA, Inc.                     18-10476
 05/16/2018          231   Lexin NY 551 LLC                          Metin Negrin                                 654 Madison Ave, Suite 2205                                                                              New York                NY           10065                       $1,901,660.63     General Unsecured                    The Walking Company                   18-10475
 05/17/2018          232   Lexin NY 551 LLC                          Metin Negrin                                 654 Madison Ave, Suite 2205                                                                              New York                NY           10065                       $1,901,660.63     General Unsecured                    The Walking Company                   18-10475
 05/17/2018          234   LI & FUNG (TRADING) LIMITED               ATTN LEGAL DEPARTMENT                        6/F, LI FUNG TOWER                   888 CHEUNG SHA WAN ROAD             KOWLOON                         HONG KONG                                         CHINA           $352,992.02      General Unsecured                    The Walking Company                   18-10475
 05/21/2018          267   LI & FUNG (TRADING) LIMITED               ATTN GENERAL COUNSEL                         6/F, LI FUNG TOWER                   888 CHEUNG SHA WAN ROAD             KOWLOON                         HONG KONG                                         CHINA        UNLIQUIDATED        General Unsecured   A                The Walking Company                   18-10475
                                                                                                                  Kramer Levin Naftalis and Frankel
 06/15/2018          355 Li and Fung Trading Limited                 c/o Robert T. Schmidt                        LLP                                  1177 Avenue of the Americas                                         New York                NY           10036                     UNLIQUIDATED Admin Priority                              The Walking Company Holdings, Inc.    18-10474
                                                                                                                  Kramer Levin Naftalis and Frankel
 06/15/2018          356 Li and Fung Trading Limited                 Robert T. Schmidt                            LLP                                  1177 Avenue of the Americas                                         New York                NY           10036                     UNLIQUIDATED Admin Priority                              The Walking Company                   18-10475
                                                                                                                  Kramer Levin Naftalis and Frankel
 06/15/2018          357 Li and Fung Trading Limited                 Robert T. Schmidt                            LLP                                  1177 Avenue of the Americas                                         New York                NY           10036                     UNLIQUIDATED Admin Priority                              Big Dog USA, Inc.                     18-10476
                                                                                                                  Kramer Levin Naftalis and Frankel
 06/15/2018          358 Li and Fung Trading Limited                 Robert T. Schmidt                            LLP                                  1177 Avenue of the Americas                                         New York                NY           10036                     UNLIQUIDATED Admin Priority                              FootSmart, Inc.                       18-10477
 05/04/2018          172 Linda Covington                                                                          5117 Whitelake CV                                                                                        Memphis                 TN           38125                     BLANK        General Unsecured                           The Walking Company Holdings, Inc.    18-10474
                         Los Angeles County Treasurer and Tax
 03/23/2018            9 Collector                                                                                PO Box 54110                                                                                             Los Angeles             CA           90054                            $56,428.39 Secured                                The Walking Company Holdings, Inc.    18-10474
                         Los Angeles County Treasurer and Tax
 03/23/2018            9 Collector                                                                                PO Box 54110                                                                                             Los Angeles             CA           90054                            $13,490.73 Priority                               The Walking Company Holdings, Inc.    18-10474
                         Los Angeles County Treasurer and Tax
 08/16/2018          408 Collector                                                                                PO Box 54110                                                                                             Los Angeles             CA           90054-0110                W/D                 Priority            A     03/23/2018 The Walking Company Holdings, Inc.    18-10474
 04/02/2018           34 Louisville Gas & Electric Company                                                        820 W. Broadway                                                                                          Louisville              KY           40202                               $370.68   General Unsecured                    The Walking Company Holdings, Inc.    18-10474
 04/23/2018          103 Louisville Metro Revenue Commission         Legal Division                               617 West Jefferson Street            PO Box 32060                                                        Louisville              KY           40232-2060                          $593.11   Priority                             The Walking Company Holdings, Inc.    18-10474
 04/23/2018          103 Louisville Metro Revenue Commission         Legal Division                               617 West Jefferson Street            PO Box 32060                                                        Louisville              KY           40232-2060                          $201.79   General Unsecured                    The Walking Company Holdings, Inc.    18-10474
 09/10/2018          419 Louisville Metro Revenue Commission         Attn Legal Division                          PO Box 32060                                                                                             Louisville              KY           40232-2060                          $201.79   General Unsecured   A     04/23/2018 The Walking Company Holdings, Inc.    18-10474
                                                                                                                  Mid-America Asset Management,
 05/10/2018          194 LPF Geneva Commons, LLC                     c/o Cathy Charhut                            Inc.                                 One Parkview Plaza, 9th Floor                                       Oakbrook Terrace        IL           60181                            $13,709.27 General Unsecured                      The Walking Company                   18-10475

 05/22/2018          298 Macerich Northwestern Associates            Dustin P. Branch, Esq.                       Ballard Spahr LLP                    2029 Century Park East, Suite 800                                   Los Angeles             CA           90067                            $22,778.19 Admin Priority                         The Walking Company                   18-10475

 05/22/2018          298 Macerich Northwestern Associates            Dustin P. Branch, Esq.                       Ballard Spahr LLP                    2029 Century Park East, Suite 800                                   Los Angeles             CA           90067                            $28,938.81 General Unsecured                      The Walking Company                   18-10475


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                                                                                                                                                                                              Claims Register Report
                                                                                                                                                                                        Date Range:03/06/2018-10/05/2018




 Date Filed Claim No.                  Creditor Name                               Creditor Notice Name                     Address 1                           Address 2                        Address 3                       City            State      Zip       Country   Claim Amount             Nature     A R   A/R Date               Debtor Name               Debtor Number

 05/22/2018          304 Macerich Valley River Center LLC              Dustin P. Branch, Esq.                    Ballard Spahr LLP                  2029 Century Park East, Suite 800                                  Los Angeles          CA           90067                      $9,254.19 Admin Priority                         The Walking Company                   18-10475

 05/22/2018          304 Macerich Valley River Center LLC              Dustin P. Branch, Esq.                    Ballard Spahr LLP                  2029 Century Park East, Suite 800                                  Los Angeles          CA           90067                     $33,108.03 General Unsecured                      The Walking Company                   18-10475
 05/04/2018          174 MADISON MUNICIPAL SVCS                        MADISON WATER UTILITY                     119 E OLIN AVE                                                                                        MADISON              WI           53713-1431                    $24.30 General Unsecured                      The Walking Company                   18-10475
                         Madison/West Towne, LLC, by CBL &
                         Associates Management, Inc., as
 05/01/2018          137 managing agent                                Caleb Holzaepfel                          736 Georgia Avenue, Suite 300                                                                         Chattanooga          TN           37402                      $5,561.52 Admin Priority                         The Walking Company                   18-10475

 05/22/2018          284 MainPlace Shoppingtown LLC                    Dustin P. Branch, Esq.                    Ballard Spahr LLP                  2029 Century Park East, Suite 800                                  Los Angeles          CA           90067                      $1,667.85 Admin Priority                         The Walking Company                   18-10475

 05/22/2018          284 MainPlace Shoppingtown LLC                    Dustin P. Branch, Esq.                    Ballard Spahr LLP                  2029 Century Park East, Suite 800                                  Los Angeles          CA           90067                      $4,025.26 General Unsecured                      The Walking Company                   18-10475
                         Mall of Georgia, L.L.C., a Delaware Limited
 05/22/2018          301 Liability Company                             Simon Property Group, L.P.                225 West Washington Street                                                                            Indianapolis         IN           46204                      $5,784.55 Admin Priority                         The Walking Company Holdings, Inc.    18-10474
                         Mall of Georgia, L.L.C., a Delaware Limited
 05/22/2018          301 Liability Company                             Simon Property Group, L.P.                225 West Washington Street                                                                            Indianapolis         IN           46204                     $52,916.94 General Unsecured                      The Walking Company Holdings, Inc.    18-10474
                         Mall of Georgia, L.L.C., a Delaware Limited
 05/25/2018          330 Liability Company                             Simon Property Group                      225 West Washington Street                                                                            Indianapolis         IN           46204                      $3,372.16 Admin Priority        A                The Walking Company Holdings, Inc.    18-10474
                         Mall of Georgia, L.L.C., a Delaware Limited
 05/25/2018          330 Liability Company                             Simon Property Group                      225 West Washington Street                                                                            Indianapolis         IN           46204                     $61,696.75 General Unsecured     A                The Walking Company Holdings, Inc.    18-10474
 04/22/2018           70 Mallory Roco                                                                            164 Mathewson Street, Unit C                                                                          Jewett City          CT           06351                      $1,733.52 Priority                               The Walking Company                   18-10475

 05/09/2018          188   Maricopa County Treasurer,                  Peter Muthig                              222 North Central Avenue, #1100                                                                       Phoenix              AZ           85004                      $1,780.00   Secured                              The Walking Company                   18-10475
 04/30/2018          119   MARION COUNTY TREASURER                                                               PO BOX 6145                                                                                           INDIANAPOLIS         IN           46206-6145                 $5,741.96   Priority                             The Walking Company                   18-10475
 05/22/2018          313   Mary Hanks                                                                            5056 E Atlantic Pl                                                                                    Denver               CO           80222                       $458.90    General Unsecured                    The Walking Company Holdings, Inc.    18-10474
 08/01/2018          398   MARYLU MACCHEYNE                                                                      1509 DESERT SPRING AVE                                                                                RICHLAND             WA           99352                       $151.99    General Unsecured                    The Walking Company                   18-10475
 04/03/2018           35   Memphis Light Gas and Water                                                           PO Box 430                                                                                            Memphis              TN           38101                       $424.02    General Unsecured                    The Walking Company Holdings, Inc.    18-10474
                                                                                                                 305 SEABOARD LANE, SUITE
 05/15/2018          217 MEPHISTO INC.                                                                           328                                                                                                   FRANKLIN             TN           37067-8287                  $997.00    General Unsecured                    FootSmart, Inc.                       18-10477
 05/17/2018          230 MEPHISTO USA                                                                            305 Seaboard Lane                                                                                     Franklin             TN           37067                     $15,941.31   General Unsecured                    The Walking Company Holdings, Inc.    18-10474
 04/24/2018           90 MERRITT MEADE LOUGHRAN                        C/O FFO                                   11601 WILSHIRE BLVD. #1840                                                                            LOS ANGELES          CA           90025                      $2,060.13   General Unsecured                    The Walking Company                   18-10475
 07/31/2018          395 MERRITT MEADE LOUGHRAN                        C/O FFO                                   135 W 50TH ST, 19TH FLOOR                                                                             NEW YORK             NY           10020                     $92,636.52   General Unsecured                    The Walking Company                   18-10475
 05/18/2018          240 Metric Theory                                                                           311 California Street, Suite 200                                                                      San Francisco        CA           94104-0000                $29,502.55   General Unsecured                    The Walking Company Holdings, Inc.    18-10474
 05/18/2018          241 Metric Theory LLC                                                                       311 California Street #200                                                                            San Francisco        CA           94114                     $40,500.55   General Unsecured   A     05/18/2018 The Walking Company Holdings, Inc.    18-10474
 06/27/2018          366 Michele W. Shafe                              Clark County Assessor                     PO Box 551401                                                                                         Las Vegas            NV           89155-1401                  $351.69    Secured                              The Walking Company Holdings, Inc.    18-10474
 05/01/2018          155 Michigan Bell Telephone Company               c/o Karen A. Cavagnaro - Lead Paralegal   ATT Services Inc.                  One ATT Way, Room 3A104                                            Bedminster           NJ           07921                       $181.15    General Unsecured                    Big Dog USA, Inc.                     18-10476
                         Microsoft Corporation and Microsoft
 05/18/2018          236 Licensing GP                                  Katherine Seabright                       Fox Rothschild LLP                 1001 4th Ave. Suite 4500                                           Seattle              WA           98154                     $31,200.00 General Unsecured                      The Walking Company Holdings, Inc.    18-10474

 06/25/2018          363 Mike Fasano, Pasco County Tax Collector Pasco County Tax Collector                      PO Box 276                                                                                            Dade City            FL           33526                        $718.12 Priority                               The Walking Company                   18-10475
 04/24/2018           87 MISHAWAKA UTILITIES                                                                     126 N. CHURCH ST.                  PO BOX 363                                                         MISHAWAKA            IN           46546-0363                   $735.70 General Unsecured                      The Walking Company                   18-10475
                         Mississippi Department of Employment
 04/26/2018          107 Security                                                                                PO Box 1699                                                                                           Jackson              MS           39215-1699                 $2,839.44 Secured                                Big Dog USA, Inc.                     18-10476
                         Mississippi Department of Employment
 04/26/2018          107 Security                                                                                PO Box 1699                                                                                           Jackson              MS           39215-1699                     $0.09   Priority                             Big Dog USA, Inc.                     18-10476
 04/26/2018          106 MNJ Technologies Direct, Inc.           Mark Schley                                     1025 Busch Parkway                                                                                    Buffalo Grove        IL           60089                     $38,958.04   General Unsecured                    Big Dog USA, Inc.                     18-10476
 05/01/2018          149 Montgomery Mall Owner LLC               Attn Niclas A. Ferland                          LeClairRyan, PLLC                  545 Long Wharf Drive, 9th Floor                                    New Haven            CT           06511                     $16,970.85   General Unsecured                    The Walking Company                   18-10475
 05/21/2018          261 Multnomah County-DART                                                                   PO Box 2716                                                                                           Portland             OR           97208                      $1,201.18   Secured                              The Walking Company                   18-10475
 04/20/2018           69 NASHVILLE ELECTRIC SVC                                                                  1214 CHURCH ST.                                                                                       NASHVILLE            TN           37246-0003                  $434.44    General Unsecured                    The Walking Company                   18-10475
 04/24/2018           95 National Grid                                                                           300 Erie Blvd W                                                                                       Syracuse             NY           13202                       $545.18    General Unsecured                    The Walking Company Holdings, Inc.    18-10474
 05/11/2018          202 Needle, Inc.                                                                            14864 Pony Express Rd              1234 Test                                                          Bluffdale            UT           84065                     $36,780.00   General Unsecured                    The Walking Company Holdings, Inc.    18-10474

 05/07/2018          177 Nevada Power Company dba NV Energy                                                      PO Box 10100                                                                                          Reno                 NV           89520                        $587.11 General Unsecured                      The Walking Company Holdings, Inc.    18-10474
                         New Hampshire Department of Revenue
 08/30/2018          414 Administration                                Legal Bureau                              109 Pleasant Street                                                                                   Concord              NH           03031                          $1.00 Priority              A                The Walking Company                   18-10475
                         New York State Department of Taxation
 07/23/2018          386 and Finance                                   Bankruptcy Section                        PO Box 5300                                                                                           Albany               NY           12205-0300                $37,692.99 Priority                               The Walking Company                   18-10475
                         New York State Department of Taxation
 07/23/2018          386 and Finance                                   Bankruptcy Section                        PO Box 5300                                                                                           Albany               NY           12205-0300                 $6,562.50 General Unsecured                      The Walking Company                   18-10475
                         New York State Department of Taxation
 07/23/2018          387 and Finance                                   Bankruptcy Section                        PO Box 5300                                                                                           Albany               NY           12205-0300                 $9,219.55 Priority                               Big Dog USA, Inc.                     18-10476
                         New York State Department of Taxation
 07/23/2018          387 and Finance                                   Bankruptcy Section                        PO Box 5300                                                                                           Albany               NY           12205-0300                 $1,562.50 General Unsecured                      Big Dog USA, Inc.                     18-10476
                         New York State Department of Taxation
 09/04/2018          416 and Finance                                   Bankruptcy Section                        PO Box 5300                                                                                           Albany               NY           12205-0300                 $4,493.57 General Unsecured                      The Walking Company Holdings, Inc.    18-10474
 07/19/2018          384 North Carolina Department of Revenue                                                    PO Box 1168                                                                                           Raleigh              NC           27602                          $4.88 Priority                               Big Dog USA, Inc.                     18-10476
 07/19/2018          384 North Carolina Department of Revenue                                                    PO Box 1168                                                                                           Raleigh              NC           27602                       $131.45 General Unsecured                       Big Dog USA, Inc.                     18-10476
                         North County Fair LP and EWH Escondido
 05/01/2018          150 Assocates, L.P.                               Attn Niclas A. Ferland                    LeClairRyan, PLLC                  545 Long Wharf Drive, 9th Floor                                    New Haven            CT           05611                      $2,057.71 General Unsecured                      The Walking Company                   18-10475
 04/23/2018           82 NORTH WALES WATER AUTHORITY                                                             PO BOX 1339                        200 WEST WALNUT STREET                                             NORTH WALES          PA           19454-0339                    $19.00 General Unsecured                      The Walking Company Holdings, Inc.    18-10474

                         Northern States Power Co, A Minnesota
 04/19/2018           65 Corporation, dba Xcel Energy                  Attn Bankruptcy                           Xcel Energy                        PO Box 9477                                                        Minneapolis          MN           55484                        $175.57 General Unsecured                      The Walking Company                   18-10475
 04/17/2018           63 NRAI                                                                                    111 Eighth Ave 13-Floor                                                                               New York             NY           10011                         $90.00 General Unsecured                      The Walking Company Holdings, Inc.    18-10474
 04/23/2018           80 NW NATURAL                                                                              PO BOX 6017                                                                                           PORTLAND             OR           97228-6017                    $98.70 General Unsecured                      The Walking Company                   18-10475

                         Oak Park Mall, LLC, by CBL & Associates
 05/01/2018          135 Management, Inc, as Managing Agent      Caleb Holzaepfel                                736 Georgia Avenue, Suite 300                                                                         Chattanooga          TN           37402                     $14,401.29 Admin Priority                         The Walking Company                   18-10475

                         Oak Park Mall, LLC, by CBL & Associates
 05/01/2018          135 Management, Inc, as Managing Agent      Caleb Holzaepfel                                736 Georgia Avenue, Suite 300                                                                         Chattanooga          TN           37402                      $5,719.71 General Unsecured                      The Walking Company                   18-10475
 05/01/2018          133 Oakridge Mall, LLC                      Attn Niclas A. Ferland                          LeClairRyan, PPLC                  545 Long Wharf Drive, 9th Floor                                    New Haven            CT           06511                    $200,359.35 General Unsecured                      The Walking Company                   18-10475
 05/01/2018          132 Old Orchard Urban Limited Partnership   Attn Niclas A. Ferland                          LeClairRyan, PLLC                  545 Long Wharf Drive, 9th Floor                                    New Haven            CT           06511                      $1,614.06 General Unsecured                      The Walking Company                   18-10475

 05/22/2018          281   Oracle America, Inc.                        c/o Amish R. Doshi, Esq.                  Doshi Legal Group, P.C.            1979 Marcus Avenue, Suite 210E                                     Lake Success         NY           11042                     $35,425.13   General Unsecured                    The Walking Company                   18-10475
 05/14/2018          204   PACE COMMUNICATIONS                                                                   PO BOX 60014                                                                                          CHARLOTTE            NC           28260-0000                $20,135.00   General Unsecured                    The Walking Company                   18-10475
 05/14/2018          205   PACE COMMUNICATIONS                                                                   PO BOX 60014                                                                                          CHARLOTTE            NC           28260                     $20,135.00   General Unsecured   A     05/14/2018 The Walking Company                   18-10475
 05/15/2018          213   Pacific Bell Telephone Company              Karen A. Cavagnaro-Lead Paralegal         c/o ATT Services, Inc              One ATT Way, Room 3A104                                            Bedminster           NJ           07921                       $479.94    General Unsecured                    The Walking Company                   18-10475
 05/11/2018          197   Pacific Gas and Electric                    c/o Bankruptcy IXB7                       PO Box 8329                                                                                           Stockton             CA           95208                      $1,711.91   General Unsecured                    The Walking Company Holdings, Inc.    18-10474
 05/25/2018          336   PacifiCorp                                  Pacific Power/ Rocky Mountain Power       PO Box 25308                                                                                          Salt Lake City       UT           84125                       $332.76    General Unsecured                    The Walking Company Holdings, Inc.    18-10474

 05/22/2018          289 Paseo Nuevo Owner LLC                         Dustin P. Branch, Esq.                    Ballard Spahr LLP                  2029 Century Park East, Suite 800                                  Los Angeles          CA           90067                     $13,854.69 Admin Priority                         The Walking Company                   18-10475



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                                                                                                                                                                        Case 18-10474-LSS          Doc 448     Filed 10/05/18      Page 6 of 9


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 Date Filed Claim No.                   Creditor Name                            Creditor Notice Name                           Address 1                         Address 2                           Address 3                      City             State      Zip          Country   Claim Amount                 Nature     A R   A/R Date               Debtor Name               Debtor Number

 05/22/2018          289 Paseo Nuevo Owner LLC                       Dustin P. Branch, Esq.                       Ballard Spahr LLP                   2029 Century Park East, Suite 800                                   Los Angeles            CA           90067                             $8,442.32 General Unsecured                      The Walking Company                   18-10475

 04/29/2018          117 Paseo Nuevo Owner, LLC                      c/o Dustin P. Branch, Esq.                   Ballard Spahr LLP                   2029 Century Park East, Suite 800                                   Los Angeles            CA           90067-2909                        $3,832.10 Admin Priority                         Big Dog USA, Inc.                     18-10476

 04/29/2018          117 Paseo Nuevo Owner, LLC                      c/o Dustin P. Branch, Esq.                   Ballard Spahr LLP                   2029 Century Park East, Suite 800                                   Los Angeles            CA           90067-2909                       $48,647.65 General Unsecured                      Big Dog USA, Inc.                     18-10476

 08/13/2018          404 Paseo Nuevo Owner, LLC                      c/o Dustin P. Branch, Esq.                   Ballard Spahr LLP                   2029 Century Park East, Suite 800                                   Los Angeles            CA           90067-2909                     $3,940.67 Admin Priority           A                Big Dog USA, Inc.                     18-10476
 06/07/2018          345 PEGGY DEAN                                                                               604 S LUCIA AVE                                                                                         REDONDO BEACH          CA           90277-0000                BLANK          General Unsecured                         The Walking Company Holdings, Inc.    18-10474
                         Penn Square Mall, LLC, a Delaware
 04/23/2018           75 Limited Liability Company                   Simon Property Group, L.P.                   225 West Washington Street                                                                              Indianapolis           IN           46204                               $100.00 Admin Priority                         The Walking Company Holdings, Inc.    18-10474
                         Penn Square Mall, LLC, a Delaware
 04/23/2018           75 Limited Liability Company                   Simon Property Group, L.P.                   225 West Washington Street                                                                              Indianapolis           IN           46204                           $186,763.23   General Unsecured                    The Walking Company Holdings, Inc.    18-10474
 03/20/2018            6 PEPCO                                                                                    PO Box 97294                                                                                            Washington             DC           20090                              $267.31    General Unsecured                    The Walking Company Holdings, Inc.    18-10474
 03/20/2018            7 PEPCO                                                                                    PO Box 97294                                                                                            Washington             DC           20090                              $552.29    General Unsecured                    The Walking Company Holdings, Inc.    18-10474
 04/24/2018           86 PFP Columbus II, LLC                        Ronald E. Gold, Esq.                         Frost Brown Todd LLC                3300 Great American Tower           301 E. Fourth St.               Cincinnati             OH           45202                            $12,187.22   Admin Priority                       The Walking Company                   18-10475
 04/24/2018           86 PFP Columbus II, LLC                        Ronald E. Gold, Esq.                         Frost Brown Todd LLC                3300 Great American Tower           301 E. Fourth St.               Cincinnati             OH           45202                            $17,015.93   General Unsecured                    The Walking Company                   18-10475
 07/02/2018          367 PFP Columbus II, LLC                        Ronald E. Gold, Esq.                         Frost Brown Todd LLC                3300 Great American Tower           301 E. Fourth St.               Cincinnati             OH           45202                            $12,458.87   Admin Priority      A     04/24/2018 The Walking Company                   18-10475
 07/02/2018          367 PFP Columbus II, LLC                        Ronald E. Gold, Esq.                         Frost Brown Todd LLC                3300 Great American Tower           301 E. Fourth St.               Cincinnati             OH           45202                           $168,436.93   General Unsecured   A     04/24/2018 The Walking Company                   18-10475
 05/04/2018          169 Piedmont Natural Gas                        Bankruptcy                                   4339 S. Tryon St.                                                                                       Charlotte              NC           28217                             $4,257.74   General Unsecured                    The Walking Company Holdings, Inc.    18-10474
 07/20/2018          385 PIERCE COUNTY                               BUDGET AND FINANCE                           PO BOX 11621                                                                                            TACOMA                 WA           98411-6621                         $190.48    Secured                              The Walking Company                   18-10475
 06/25/2018          361 Pipp Mobile Storage Company                                                              2966 Wilson Drive NW                                                                                    Walker                 MI           49534                            $23,087.94   General Unsecured                    Big Dog USA, Inc.                     18-10476
 06/25/2018          362 Pipp Mobile Storage Systems                                                              2966 Wilson Drive NW                                                                                    Walker                 MI           49534                            $23,087.94   General Unsecured                    Big Dog USA, Inc.                     18-10476
                                                                                                                  Nu Shan Foreign Trade Industrial
 05/07/2018          178 Power Link International Corp                                                            Park                                Dong Cheng District                                                 Dongguan City          Guangdong                 China          $1,654,687.24 General Unsecured                        The Walking Company Holdings, Inc.    18-10474
                                                                                                                  Nu Shan Foreign Trade Industrial
 05/15/2018          222 Power Link International Corp                                                            Park                                Dong Cheng District                                                 Dongguan City          Guangdong                 China              $128,073.60 Priority                               The Walking Company Holdings, Inc.    18-10474
                                                                                                                  Nu Shan Foreign Trade Industrial
 05/15/2018          222 Power Link International Corp                                                            Park                                Dong Cheng District                                                 Dongguan City          Guangdong                 China          $1,532,928.55 General Unsecured                        The Walking Company Holdings, Inc.    18-10474
 05/22/2018          274 PPF RTL Rosedale Shopping, LLC              Jill McCallion, Senior Property Accountant   Rosedale Shopping Center            10 Rosedale Center                                                  Roseville              MN        55113                             $15,589.19 Priority                                 The Walking Company Holdings, Inc.    18-10474
 05/22/2018          274 PPF RTL Rosedale Shopping, LLC              Jill McCallion, Senior Property Accountant   Rosedale Shopping Center            10 Rosedale Center                                                  Roseville              MN        55113                             $21,843.97 General Unsecured                        The Walking Company Holdings, Inc.    18-10474

 05/22/2018          305 PPR Washington Square LLC                   Dustin P. Branch, Esq.                       Ballard Spahr LLP                   2029 Century Park East, Suite 800                                   Los Angeles            CA           90067                            $21,029.30 Admin Priority                         The Walking Company                   18-10475

 05/22/2018          305 PPR Washington Square LLC                   Dustin P. Branch, Esq.                       Ballard Spahr LLP                   2029 Century Park East, Suite 800                                   Los Angeles            CA           90067                            $44,138.43 General Unsecured                      The Walking Company                   18-10475
 03/16/2018            4 PR Patrick Henry, LLC                       Jeffrey Kurtzman, Esquire                    401 S. 2nd Street, Suite 200                                                                            Philadelphia           PA           19147                             $5,587.43 Admin Priority                         The Walking Company                   18-10475
 03/16/2018            4 PR Patrick Henry, LLC                       Jeffrey Kurtzman, Esquire                    401 S. 2nd Street, Suite 200                                                                            Philadelphia           PA           19147                             $8,927.44 General Unsecured                      The Walking Company                   18-10475
                         Premium Outlet Partners, L.P., a Delaware
 03/28/2018           18 Limited Partnership                         Simon Property Group, L.P                    225 West Washington Street                                                                              Indianapolis           IN           46204                              $100.00 Admin Priority                          The Walking Company Holdings, Inc.    18-10474
 04/23/2018           84 PSEG LI                                     GERALYN CLINCH                               15 PARK DRIVE                                                                                           MELVILLE               NY           11747                             $1,078.51 General Unsecured                      The Walking Company                   18-10475
                         Public Service CO, A Colorado
 04/19/2018           64 Corporation, dba Xcel Energy                Attn Bankruptcy                              Xcel Energy                         PO Box 9477                                                         Minneapolis            MN           55484                               $858.42 General Unsecured                      The Walking Company                   18-10475
                         Public Service of New Hampshire d/b/a
 08/30/2018          411 Eversource                                  Eversource Legal Dept - Honor Heath          107 Selden St                                                                                           Berlin                 CT           06037                             $1,825.57 General Unsecured                      The Walking Company                   18-10475

 04/16/2018           44 Puget Sound Energy                          Vendor Collections Department - BOT - 02G    PO Box 97034                                                                                            Bellevue               WA           98009-7034                          $858.69 General Unsecured                      The Walking Company Holdings, Inc.    18-10474
                                                                     Creditors Adjustment Bureau Assignee of
 04/09/2018           39 Putian Xinxiesheng Footwear Co Ltd.         Putian Xinxiesheng Footwear Co Ltd.          14226 Ventura Blvd                                                                                      Sherman Oaks           CA           91423                            $59,623.32 Admin Priority                         The Walking Company                   18-10475
                                                                     Creditors Adjustment Bureau Assignee of
 04/09/2018           39 Putian Xinxiesheng Footwear Co Ltd.         Putian Xinxiesheng Footwear Co Ltd.          14226 Ventura Blvd                                                                                      Sherman Oaks           CA           91423                            $72,422.28 General Unsecured                      The Walking Company                   18-10475

 05/18/2018          247 Pyramid Walden Company, L.P.                Attn Kevin M. Newman                         Menter, Rudin & Trivelpiece, P.C.   308 Maltbie Street, Suite 200                                       Syracuse               NY           13204-1439                UNLIQUIDATED Admin Priority                              The Walking Company                   18-10475

 05/18/2018          253 Pyramid Walden Company, L.P.                Attn Kevin M. Newman                         Menter, Rudin & Trivelpiece, P.C.   308 Maltbie Street, Suite 200                                       Syracuse               NY           13204-1439                UNLIQUIDATED General Unsecured                           The Walking Company                   18-10475

 05/18/2018          254 Pyramid Walden Company, L.P.                Attn Kevin M. Newman                         Menter, Rudin & Trivelpiece, P.C.   308 Maltbie Street, Suite 200                                       Syracuse               NY           13204-1439                UNLIQUIDATED General Unsecured                           The Walking Company                   18-10475
                                                                                                                                                      46 Siliu Middle Road, Licang
 04/15/2018           43 Qingdao Sinotex Industry Co., Ltd           David Zhang                                  B11-2, M6 Creactive Park            District                                                            Qingdao                Shandong     266041       China               $17,400.00 General Unsecured                      Big Dog USA, Inc.                     18-10476
                                                                                                                  Honigman Miller Schwartz and
 05/16/2018          228 QKC Maui Owner, LLC                         Lawrence A. Lichtman, Esq.                   Cohn LLP                            2290 First National Building        660 Woodward Avenue             Detroit                MI           48226                            $14,150.57 General Unsecured                      The Walking Company                   18-10475
 06/13/2018          350 Regency Lighting                            Attn Cheryl                                  9261 Jordan Avenue                                                                                      Chatsworth             CA           91311                             $4,942.22 General Unsecured           06/13/2018 The Walking Company                   18-10475
 09/11/2018          418 Richmond County Tax Commissioner                                                         535 Telfair Street, Suite 100                                                                           Augusta                GA           30901                             $1,461.08 Priority                               The Walking Company Holdings, Inc.    18-10474
                                                                                                                  200 East Long Lake Road, Suite
 05/16/2018          225 Rich-Taubman Associates                     The Taubman Company                          300                                                                                                     Bloomfield Hills       MI           48304                             $4,362.72 Admin Priority                         The Walking Company Holdings, Inc.    18-10474
                                                                                                                  200 East Long Lake Road, Suite
 05/16/2018          225 Rich-Taubman Associates                     The Taubman Company                          300                                                                                                     Bloomfield Hills       MI           48304                             $9,000.78 General Unsecured                      The Walking Company Holdings, Inc.    18-10474
 04/23/2018           76 RIEKER SHOE CORP                                                                         299 RIO DRIVE                                                                                           ORLANDO                FL           32810-0000                        $9,052.52 General Unsecured                      The Walking Company                   18-10475
 04/23/2018           83 RIEKER SHOE CORP                                                                         299 RIO DRIVE                                                                                           ORLANDO                FL           32810                             $1,579.00 General Unsecured                      FootSmart, Inc.                       18-10477
                         Rockaway Center Associates, a New
 03/28/2018           21 Jersey Limited Partnership                  Simon Property Group, L.P                    225 West Washington Street                                                                              Indianapolis           IN           46204                               $100.00 Admin Priority                         The Walking Company Holdings, Inc.    18-10474
                         Rockaway Center Associates, a New
 03/28/2018           21 Jersey Limited Partnership                  Simon Property Group, L.P                    225 West Washington Street                                                                              Indianapolis           IN           46204                             $1,043.54 General Unsecured                      The Walking Company Holdings, Inc.    18-10474
 05/01/2018          147 Roseville Shoppingtown LLC                  Attn Niclas A. Ferland                       LeClairRyan, PLLC                   545 Long Wharf Drive, 9th Floor                                     New Haven              CT           06511                             $2,212.68 General Unsecured                      The Walking Company                   18-10475
                                                                                                                                                      9801 Washington Boulevard, 12th
 05/17/2018          233 Roth Bros., Inc.                            Attn Antoinette Young, Esq.                  Sodexo, Inc                         Floor                                                               Gaithersburg           MD           20878                            $23,852.76 General Unsecured     A     05/07/2018 The Walking Company                   18-10475
                         RREEF America REIT II Corp. BBB
 05/22/2018          288 (Manhattan Village)                         Dustin P. Branch, Esq.                       Ballard Spahr LLP                   2029 Century Park East, Suite 800                                   Los Angeles            CA           90067                             $7,333.39 Admin Priority                         The Walking Company                   18-10475
                         RREEF America REIT II Corp. BBB
 05/22/2018          288 (Manhattan Village)                         Dustin P. Branch, Esq.                       Ballard Spahr LLP                   2029 Century Park East, Suite 800                                   Los Angeles            CA           90067                             $2,883.04 General Unsecured                      The Walking Company                   18-10475
                         RUTHERFORD ELECTRIC
 05/16/2018          223 MEMBERSHIP CORPORATION                      ATTN LINDSAY RODDY                           PO BOX 1569                                                                                             FOREST CITY            NC           28043                              $829.22 General Unsecured                       The Walking Company Holdings, Inc.    18-10474
 05/01/2018          145 S.F. Centre Limited Partnership             Attn Niclas A. Ferland                       LeClairRyan, PLLC                   545 Long Wharf Drive, 9th Floor                                     New Haven              CT           06511                            $36,738.17 General Unsecured                      The Walking Company                   18-10475
                         San Diego County Treasurer - Tax
 04/30/2018          162 Collector                                   Attn BK Desk                                 1600 Pacific Highway, Rm 162                                                                            San Diego              CA           92101                     W/D               Priority                               The Walking Company Holdings, Inc.    18-10474
 05/01/2018          146 Santa Anita Shoppingtown LP                 Attn Niclas A. Ferland                       LeClairRyan, PLLC                   545 Long Wharf Drive, 9th Floor                                     New Haven              CT           06511                             $3,281.20 General Unsecured                      The Walking Company                   18-10475
 05/14/2018          210 SARASOTA COUNTY                             TAX COLLECTOR                                101 S. WASHINGTON BLVD.                                                                                 SARASOTA               FL           34236-6940                         $800.61 Priority                                The Walking Company                   18-10475

 05/22/2018          300 Scottsdale Fashion Square LLC               Dustin P. Branch, Esq.                       Ballard Spahr LLP                   2029 Century Park East, Suite 800                                   Los Angeles            CA           90067                            $14,494.66 Admin Priority                         The Walking Company                   18-10475

 05/22/2018          300   Scottsdale Fashion Square LLC             Dustin P. Branch, Esq.                       Ballard Spahr LLP                   2029 Century Park East, Suite 800                                   Los Angeles            CA           90067                            $41,737.86   General Unsecured                    The Walking Company                   18-10475
 04/30/2018          123   SDG RUSSELL RANCH                         ASSOCIATES, LLC                              30770 RUSSELL RANCH RD #I                                                                               WESTLAKE VILLAGE       CA           91362-0000                        $8,151.71   General Unsecured                    The Walking Company                   18-10475
 03/16/2018           12   Securitas Security Services USA, Inc.     Ebonee Johnson                               9 Campus Drive                                                                                          Parsipanny             NJ           07054                             $1,924.73   General Unsecured                    The Walking Company                   18-10475
 05/04/2018          173   SENTRY WATCH INC                          THERESA RHODES                               1705 HOLBROOK STREET                                                                                    GREENSBORO             NC           27403                                $82.53   General Unsecured                    The Walking Company Holdings, Inc.    18-10474


In re The Walking Company Holdings, Inc.                                                                                                                                                                                                                                                                                                                                                10/5/2018 6:13 PM
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                                                                                                                                                                                                Claims Register Report
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 Date Filed Claim No.                   Creditor Name                             Creditor Notice Name                          Address 1                         Address 2                        Address 3                         City            State      Zip          Country       Claim Amount               Nature     A R   A/R Date               Debtor Name               Debtor Number

 05/01/2018          144   Sherman Oaks Fashion Associates, LP        Attn Niclas A. Ferland                       LeClairRyan, PLLC                  545 Long Wharf Drive, 9th Floor                                    New Haven              CT           06511                               $2,459.12   General Unsecured                    The Walking Company                   18-10475
 05/21/2018          262   Shoelogics Co Ltd Korea                    David Cox                                    16 West Ridings                                                                                       East Preston           W Sussex     BN162TD      United Kingdom         $8,307.63   General Unsecured                    The Walking Company Holdings, Inc.    18-10474
 05/22/2018          275   ShoesWest, Inc.                            Attn Bill Langrell                           18701 S Figueroa St                                                                                   Gardena                CA           90248                              $34,437.46   Admin Priority                       The Walking Company Holdings, Inc.    18-10474
 05/22/2018          275   ShoesWest, Inc.                            Attn Bill Langrell                           18701 S Figueroa St                                                                                   Gardena                CA           90248                              $37,576.06   General Unsecured                    The Walking Company Holdings, Inc.    18-10474
 05/21/2018          257   ShopperTrak RCT Corporation                Sally E. Edison                              Spilman Thomas & Battle, PLLC      301 Grant Street, Suite 3440                                       Pittsburgh             PA           15219                               $2,298.92   General Unsecured                    The Walking Company                   18-10475
 07/27/2018          389   ShopperTrak RCT Corporation                Sally E. Edison                              Spilman Thomas & Battle, PLLC      301 Grant Street, Suite 3440                                       Pittsburgh             PA           15219                               $5,778.36   General Unsecured                    The Walking Company Holdings, Inc.    18-10474
 07/31/2018          393   ShopperTrak RCT Corporation                Sally E. Edison                              Spilman Thomas & Battle, PLLC      301 Grant Street, Suite 3440                                       Pittsburgh             PA           15219                               $5,778.36   General Unsecured                    The Walking Company Holdings, Inc.    18-10474
                                                                                                                   200 East Long Lake Road, Suite
 05/22/2018          268 Short Hills Associates, L.L.C.               The Taubman Company                          300                                                                                                   Bloomfield Hills       MI           48304                              $32,693.43 Admin Priority                         The Walking Company Holdings, Inc.    18-10474
                                                                                                                   200 East Long Lake Road, Suite
 05/22/2018          268 Short Hills Associates, L.L.C.               The Taubman Company                          300                                                                                                   Bloomfield Hills       MI           48304                              $45,066.86 General Unsecured                      The Walking Company Holdings, Inc.    18-10474
 05/22/2018          273 Simi Entertainment Plaza LLC                 Ian S. Landsberg, Esq                        Landsberg Law, APC                 9300 Wilshire Blvd., Suite 565                                     Beverly Hills          CA           90212                               $7,152.48 Admin Priority                         The Walking Company                   18-10475
 05/22/2018          273 Simi Entertainment Plaza LLC                 Ian S. Landsberg, Esq                        Landsberg Law, APC                 9300 Wilshire Blvd., Suite 565                                     Beverly Hills          CA           90212                              $71,614.64 General Unsecured                      The Walking Company                   18-10475
                         Simon Property Group, Inc., a Delaware
 05/04/2018          170 Corporation                                                                               225 West Washington Street                                                                            Indianapolis           IN           46204                               $6,547.83 Admin Priority                         The Walking Company                   18-10475
                         Simon Property Group, Inc., a Delaware
 05/04/2018          170 Corporation                                                                               225 West Washington Street                                                                            Indianapolis           IN           46204                              $59,899.40 General Unsecured                      The Walking Company                   18-10475
                         Simon Property Group, Inc., a Delaware
 05/25/2018          328 Corporation                                  Simon Property Group                         225 West Washington Street                                                                            Indianapolis           IN           46204                               $6,547.83 Admin Priority        A     05/04/2018 The Walking Company Holdings, Inc.    18-10474
                         Simon Property Group, Inc., a Delaware
 05/25/2018          328 Corporation                                  Simon Property Group                         225 West Washington Street                                                                            Indianapolis           IN           46204                              $69,603.40 General Unsecured     A     05/04/2018 The Walking Company Holdings, Inc.    18-10474
 05/21/2018          258 SimplexGrinnell                              Attn Bankruptcy                              50 Technology Drive                                                                                   Westminster            MA           01441                               $3,242.30 General Unsecured                      The Walking Company Holdings, Inc.    18-10474
                                                                                                                   9801 Washington Boulevard, 12th
 05/07/2018          179 Sodexo, Inc.                                 Attn Antoinette Young, Esq.                  Floor                                                                                                 Gaithersburg           MD           20878                              $23,852.76 General Unsecured                      The Walking Company                   18-10475

 05/22/2018          306 SOF-IX PB Owner, L.P.                        Dustin P. Branch, Esq.                       Ballard Spahr LLP                  2029 Century Park East, Suite 800                                  Los Angeles            CA           90067                              $10,265.14 Admin Priority                         The Walking Company                   18-10475

 05/22/2018          306 SOF-IX PB Owner, L.P.                        Dustin P. Branch, Esq.                       Ballard Spahr LLP                  2029 Century Park East, Suite 800                                  Los Angeles            CA           90067                              $15,601.48 General Unsecured                      The Walking Company                   18-10475

 05/21/2018          243 Software One, Inc                            Collections Manager                          20875 Crossroads Circle, Suite 1                                                                      Waukesha               WI           53186                                 $731.36 General Unsecured                      The Walking Company Holdings, Inc.    18-10474
 04/23/2018           72 SOLUTIONS WINDOW CLEANING                                                                 PO BOX 86                                                                                             QUEENSTOWN             MD           21658-0000                            $144.68 General Unsecured                      The Walking Company                   18-10475

 05/22/2018          308 Somerset Collection Limited Partnership      Dustin P. Branch, Esq.                       Ballard Spahr LLP                  2029 Century Park East, Suite 800                                  Los Angeles            CA           90067                              $22,107.11 Admin Priority                         The Walking Company                   18-10475

 05/22/2018          308 Somerset Collection Limited Partnership      Dustin P. Branch, Esq.                       Ballard Spahr LLP                  2029 Century Park East, Suite 800                                  Los Angeles            CA           90067                               $6,900.59 General Unsecured                      The Walking Company                   18-10475

 04/24/2018           85   Sound Kitchen Studios, LLC                 Michael Abelow/ Sherrard Roe Voigt & Harbison 150 3rd Ave S, #1100                                                                                 Nashville              TN           37201                             $150,907.00 General Unsecured                      The Walking Company                   18-10475
 03/26/2018           15   South Carolina Department of Revenue                                                     PO Box 12265                                                                                         Columbia               SC           29211                         W/D             Priority                               The Walking Company Holdings, Inc.    18-10474
 03/26/2018           15   South Carolina Department of Revenue                                                     PO Box 12265                                                                                         Columbia               SC           29211                         W/D             General Unsecured                      The Walking Company Holdings, Inc.    18-10474
 04/24/2018           92   South Coast Plaza                                                                        3315 Fairview Road                                                                                   Costa Mesa             CA           92626                              $39,003.39 General Unsecured                      The Walking Company Holdings, Inc.    18-10474
 08/07/2018          407   Southern California Edison Company         Tammy McCullar                                Credit and Payment Services       1551 W. San Bernardino Road                                        Covina                 CA           91722                               $7,744.69 General Unsecured                      The Walking Company                   18-10475
 04/24/2018           93   Southern California Gas Company                                                          PO Box 30337                                                                                         Los Angeles            CA           90030                                $970.66 General Unsecured                       The Walking Company Holdings, Inc.    18-10474
 05/01/2018          142   Southgate Mall Owner LLC                   Attn Niclas A. Ferland                        LeClairRyan, PLLC                 545 Long Wharf Drive, 9th Floor                                    New Haven              CT           06511                               $1,778.91 General Unsecured                      The Walking Company                   18-10475
 06/13/2018          353   Southgate Mall Owner LLC                   Attn Niclas A. Ferland                        LeClairRyan, PLLC                 545 Long Wharf Drive, 9th Floor                                    New Haven              CT           06511                                   $0.00 General Unsecured     A     05/01/2018 The Walking Company                   18-10475

 05/01/2018          153 Southwestern Bell Telephone Company          Karen A. Cavagnaro - Lead Paralegal          c/o ATT Services Inc.              One ATT Way, Room 3A104                                            Bedminster             NJ           07921                                 $135.45 General Unsecured                      Big Dog USA, Inc.                     18-10476

 05/08/2018          181   Southwestern Bell Telephone Company        Karen A. Cavagnaro - Lead Paralegal          ATT Services Inc.                  One ATT Way, Room 3A104                                            Bedminster             NJ           07921                                  $46.13   General Unsecured                    The Walking Company Holdings, Inc.    18-10474
 04/10/2018           40   Spectrum                                                                                200 Akamainui Street                                                                                  Mililani               HI           96789                                  $22.55   General Unsecured                    The Walking Company Holdings, Inc.    18-10474
 07/31/2018          394   SPOKANE COUNTY TREASURER                   PROPERTY TAX                                 PO BOX 2165                                                                                           SPOKANE                WA           99210-2165                           $595.20    Priority                             The Walking Company                   18-10475
 05/10/2018          245   Staples                                    Attn Daneen Lotsey                           300 Arbor Lake Drive                                                                                  Columbia               SC           29223                              $34,510.43   General Unsecured                    The Walking Company Holdings, Inc.    18-10474

 06/05/2018          339 State of New Jersey - Division of Taxation                                                PO Box 245                                                                                            Trenton                NJ           08527                               $5,000.00 Priority                               The Walking Company                   18-10475

 06/05/2018          339 State of New Jersey - Division of Taxation                                                PO Box 245                                                                                            Trenton                NJ           08527                                  $26.15 General Unsecured                      The Walking Company                   18-10475

 06/05/2018          340 State of New Jersey - Division of Taxation                                                PO Box 245                                                                                            Trenton                NJ           08527                               $1,500.00 General Unsecured                      Big Dog USA, Inc.                     18-10476
                                                                                                                   Governor W. Averell Harriman
 05/07/2018          191 State of New York Department of Labor        Unemployment Insurance Division              State Office Building Campus       Building 12, Room 256                                              Albany                 NY           12240                                  $63.95 General Unsecured                      The Walking Company Holdings, Inc.    18-10474
 07/06/2018          371 STEVE HECKLER ASSOCIATES                                                                  11628 CHENAULT ST. APT 104                                                                            LOS ANGELES            CA           90049-0000                            $533.12 General Unsecured                      The Walking Company                   18-10475
 04/27/2018          113 STEVEN VANDER SCHEE                          EMBROIDERY DIGITIZING                        8 NAPIER STREET                                                                                       BARRIE                 ON           L4M 1W2    CANADA                     $179.85 General Unsecured                      Big Dog USA, Inc.                     18-10476

 05/22/2018          290 Streets of Tanasbourne, LLC                  Dustin P. Branch, Esq.                       Ballard Spahr LLP                  2029 Century Park East, Suite 800                                  Los Angeles            CA           90067                              $14,698.61 Admin Priority                         The Walking Company                   18-10475

 05/22/2018          290 Streets of Tanasbourne, LLC                  Dustin P. Branch, Esq.                       Ballard Spahr LLP                 2029 Century Park East, Suite 800                                   Los Angeles            CA           90067                               $3,018.23 General Unsecured                      The Walking Company                   18-10475
                                                                                                                   200 East Long Lake Road, Suite
 05/15/2018          215 SunValley Shopping Center LLC                The Taubman Company                          300                                                                                                   Bloomfield Hills       MI           48304                              $13,610.40 Admin Priority                         The Walking Company Holdings, Inc.    18-10474
                                                                                                                   200 East Long Lake Road, Suite
 05/15/2018          215 SunValley Shopping Center LLC                The Taubman Company                          300                                                                                                   Bloomfield Hills       MI           48304                              $19,055.76 General Unsecured                      The Walking Company Holdings, Inc.    18-10474
 04/02/2018           26 Tacoma Public Utilities                                                                   PO Box 11007                                                                                          Tacoma                 WA           98411                                $241.55 General Unsecured                       The Walking Company Holdings, Inc.    18-10474
 05/10/2018          193 TAILWIND VOICE & DATA INC                                                                 3500 HOLLY LANE N STE 10                                                                              PLYMOUTH               MN           55447                               $4,917.00 General Unsecured                      The Walking Company Holdings, Inc.    18-10474
                         Tampa Westshore Associates Limited                                                        200 East Long Lake Road, Suite
 05/14/2018          207 Partnership                                  The Taubman Company                          300                                                                                                   Bloomfield Hills       MI           48304                              $16,184.56 Admin Priority                         The Walking Company Holdings, Inc.    18-10474
                         Tampa Westshore Associates Limited                                                        200 East Long Lake Road, Suite
 05/14/2018          207 Partnership                                  The Taubman Company                          300                                                                                                   Bloomfield Hills       MI           48304                              $23,439.76 General Unsecured                      The Walking Company Holdings, Inc.    18-10474
                                                                                                                   Linebarger Goggan Blair &         2777 N. Stemmons Freeway, Suite
 03/12/2018            1 Tarrant County                               Elizabeth Weller                             Sampson, LLP                      1000                                                                Dallas                 TX           75207                               $4,347.20 Secured                                The Walking Company                   18-10475
                         Taubman Prestige Outlets of Chesterfield                                                  200 East Long Lake Road Suite
 04/17/2018           54 LLC                                          Prestige Outlets of Chesterfield             300                                                                                                   Bloomfield Hills       MI           48304                             $108,585.22 General Unsecured                      The Walking Company Holdings, Inc.    18-10474
                         Taubman-Cherry Creek Shopping Center                                                      200 East Long Lake Road, Suite
 05/14/2018          208 L.L.C.                                       The Taubman Company                          300                                                                                                   Bloomfield Hills       MI           48304                              $86,661.90 Admin Priority                         The Walking Company Holdings, Inc.    18-10474
                         Taubman-Cherry Creek Shopping Center                                                      200 East Long Lake Road, Suite
 05/14/2018          208 L.L.C.                                       The Taubman Company                          300                                                                                                   Bloomfield Hills       MI           48304                              $55,448.26 General Unsecured                      The Walking Company Holdings, Inc.    18-10474
                                                                                                                   200 East Long Lake Road, Suite
 05/15/2018          218 TB Mall at UTC LLC                           The Taubman Company                          300                                                                                                   Bloomfield Hills       MI           48304                              $12,291.04 Admin Priority                         The Walking Company Holdings, Inc.    18-10474
                                                                                                                   200 East Long Lake Road, Suite
 05/15/2018          218 TB Mall at UTC LLC                           The Taubman Company                          300                                                                                                   Bloomfield Hills       MI           48304                              $18,114.40 General Unsecured                      The Walking Company Holdings, Inc.    18-10474
                                                                                                                   50 Public Square, Terminal Tower,
 03/22/2018           14 Temecula Towne Center Associates, LLC        Forest City Commerical Management, LLC       Suite 1360                                                                                            Cleveland              OH           44113                               $4,261.75 General Unsecured                      The Walking Company Holdings, Inc.    18-10474
                                                                      Joan Glenn-Katzakis, Associate General                                         600 Superior Avenue East Suite
 05/22/2018          323 Temecula Towne Center Associates, LLC        Counsel                                      c/o QIC Properties US, Inc.       1500                                                                Cleveland              OH           44114                               $4,306.75 General Unsecured                      The Walking Company Holdings, Inc.    18-10474
 07/30/2018          390 Tennesse Department of Revenue               c/o Attorney General                         TDOR                              PO Box 20207                                                        Nashville              TN           37202-0207                          $3,579.33 Priority                               Big Dog USA, Inc.                     18-10476


In re The Walking Company Holdings, Inc.                                                                                                                                                                                                                                                                                                                                                 10/5/2018 6:13 PM
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                                                                                                                                                                      Case 18-10474-LSS      Doc 448     Filed 10/05/18     Page 8 of 9


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 Date Filed Claim No.            Creditor Name                                 Creditor Notice Name                       Address 1                         Address 2                          Address 3                         City          State       Zip      Country   Claim Amount               Nature     A R   A/R Date                Debtor Name               Debtor Number
 07/30/2018       390 Tennesse Department of Revenue               c/o Attorney General                       TDOR                                PO Box 20207                                                       Nashville            TN           37202-0207                     $30.00    General Unsecured                    Big Dog USA, Inc.                      18-10476
 07/30/2018       391 Tennessee Department of Revenue              c/o Attorney General                       TDOR                                PO Box 20207                                                       Nashville            TN           37202-0207                 $17,987.88    Priority                             FootSmart, Inc.                        18-10477
 07/30/2018       391 Tennessee Department of Revenue              c/o Attorney General                       TDOR                                PO Box 20207                                                       Nashville            TN           37202-0207                     $70.00    General Unsecured                    FootSmart, Inc.                        18-10477
 07/30/2018       392 Tennessee Department of Revenue              c/o Attorney General                       TDOR                                PO Box 20207                                                       Nashville            TN           37202-0207                 $14,367.00    Priority                             The Walking Company                    18-10475
 09/17/2018       421 Tennessee Department of Revenue              c/o Attorney General                       TDOR                                PO Box 20207                                                       Nashville            TN           37202-0207                  $2,980.25    Priority            A     07/24/2018 Big Dog USA, Inc.                      18-10476
 09/17/2018       422 Tennessee Department of Revenue              c/o Attorney General                       TDOR                                PO Box 20207                                                       Nashville            TN           37202-0207                 $17,281.00    Priority            A     07/24/2018 FootSmart, Inc.                        18-10477

 06/08/2018          354   Texas Comptroller of Public Accounts    Office of the Attorney General             Bankruptcy & Collections Division   PO Box 12548, MC-008                                               Austin               TX           78711                        $1,000.00   Priority                             The Walking Company                    18-10475
 05/08/2018          183   The Abate Trust                         Robert P. and Sonja V. Vance-Abate TTEE    731 E. Inverness Lane                                                                                  Spokane              WA           99223-0000                 $202,201.33   Secured                              The Walking Company                    18-10475
 05/08/2018          185   The Abate Trust                         Robert P. and Sonja V. Vance-Abate TTEE    731 E. Inverness Lane                                                                                  Spokane              WA           99223-0000                  $13,088.61   Secured                              Big Dog USA, Inc.                      18-10476
 05/08/2018          185   The Abate Trust                         Robert P. and Sonja V. Vance-Abate TTEE    731 E. Inverness Lane                                                                                  Spokane              WA           99223-0000                 $189,112.72   General Unsecured                    Big Dog USA, Inc.                      18-10476
 05/08/2018          186   The Abate Trust                         Robert P. and Sonja V. Vance-Abate TTEE    731 E. Inverness Lane                                                                                  Spokane              WA           99223-0000                   $1,266.13   Secured                              FootSmart, Inc.                        18-10477
 05/08/2018          186   The Abate Trust                         Robert P. and Sonja V. Vance-Abate TTEE    731 E. Inverness Lane                                                                                  Spokane              WA           99223-0000                 $200,935.20   General Unsecured                    FootSmart, Inc.                        18-10477
                                                                   and Sonja V. Vance-Abate, Trustee, Dated
 05/08/2018          184 The Abate Trust, Robert P. Abate, Trustee 5/8/12                                     731 E Inverness Lane                                                                                   Spokane              WA           99223                      $202,201.33 Secured                                The Walking Company Holdings, Inc.     18-10474
                                                                                                              200 East Long Lake Road Suite
 05/11/2018          200 The Gardens on El Paseo LLC               Andrew S. Conway                           300                                                                                                    Bloomfield Hills     MI           48303-0200                  $10,106.88 Admin Priority                         The Walking Company Holdings, Inc.     18-10474
                                                                                                              200 East Long Lake Road Suite
 05/11/2018          200   The Gardens on El Paseo LLC             Andrew S. Conway                           300                                                                                                    Bloomfield Hills     MI           48303-0200                  $14,001.48   General Unsecured                    The Walking Company Holdings, Inc.     18-10474
 04/09/2018           37   The Illuminating Company                                                           5001 NASA Blvd                                                                                         Fairmont             WV           26554                         $544.33    General Unsecured                    The Walking Company Holdings, Inc.     18-10474
 05/22/2018          317   The Rockport Group                      c/o Michael Licker                         Foley Hoag LLP                      155 Seaport Blvd.                                                  Boston               MA           02210                      $205,805.96   Admin Priority                       The Walking Company                    18-10475
 05/03/2018          163   THE SHOE HOUSE, INC.                    ALAN MIKLOFSKY                             3320 N. CAMPBELL AVE #150                                                                              TUCSON               AZ           85719                       $12,850.00   Priority                             The Walking Company Holdings, Inc.     18-10474
 05/03/2018          163   THE SHOE HOUSE, INC.                    ALAN MIKLOFSKY                             3320 N. CAMPBELL AVE #150                                                                              TUCSON               AZ           85719                        $3,230.00   General Unsecured                    The Walking Company Holdings, Inc.     18-10474
 05/14/2018          212   THE SHOE HOUSE, INC.                    ALAN MIKLOFSKY                             3320 N. CAMPBELL AVE #150                                                                              TUCSON               AZ           85719                        $5,280.00   Priority            A     04/16/2018 The Walking Company Holdings, Inc.     18-10474
 07/18/2018          381   The Shoe House, Inc.                    Alan Miklofsky                             3320 N. Campbell Ave #150                                                                              Tucson               AZ           85719                        $5,280.00   General Unsecured   A                The Walking Company Holdings, Inc.     18-10474

 05/22/2018          297 TM MacArthur Center, L.P.                 Dustin P. Branch, Esq.                     Ballard Spahr LLP                   2029 Century Park East, Suite 800                                  Los Angeles          CA           90067                       $11,375.74 Admin Priority                         The Walking Company                    18-10475

 05/22/2018          297 TM MacArthur Center, L.P.                 Dustin P. Branch, Esq.                     Ballard Spahr LLP                   2029 Century Park East, Suite 800                                  Los Angeles          CA           90067                       $18,153.85 General Unsecured                      The Walking Company                    18-10475

 05/22/2018          295 TM Northlake Mall, L.P.                   Dustin P. Branch, Esq.                     Ballard Spahr LLP                   2029 Century Park East, Suite 800                                  Los Angeles          CA           90067                       $14,791.56 Admin Priority                         The Walking Company                    18-10475

 05/22/2018          295 TM Northlake Mall, L.P.                   Dustin P. Branch, Esq.                     Ballard Spahr LLP                   2029 Century Park East, Suite 800                                  Los Angeles          CA           90067                       $10,940.11 General Unsecured                      The Walking Company                    18-10475

 05/22/2018          299 TM Partridge Creek Mall, L.P.             Dustin P. Branch, Esq.                     Ballard Spahr LLP                   2029 Century Park East, Suite 800                                  Los Angeles          CA           90067-2909                  $16,609.60 Admin Priority                         The Walking Company                    18-10475

 05/22/2018          299 TM Partridge Creek Mall, L.P.             Dustin P. Branch, Esq.                     Ballard Spahr LLP                   2029 Century Park East, Suite 800                                  Los Angeles          CA           90067-2909                  $14,520.03 General Unsecured                      The Walking Company                    18-10475

 05/22/2018          311 TM Stony Point Park, L.P.                 Dustin P. Branch, Esq.                     Ballard Spahr LLP                   2029 Century Park East, Suite 800                                  Los Angeles          CA           90067                       $13,395.06 Admin Priority                         The Walking Company                    18-10475

 05/22/2018          311 TM Stony Point Park, L.P.                 Dustin P. Branch, Esq.                     Ballard Spahr LLP                   2029 Century Park East, Suite 800                                  Los Angeles          CA           90067                       $11,418.86 General Unsecured                      The Walking Company                    18-10475

 05/22/2018          309 TM Wellington Green Mall GP               Dustin P. Branch, Esq.                     Ballard Spahr LLP                   2029 Century Park East, Suite 800                                  Los Angeles          CA           90067                        $1,567.26 Admin Priority                         The Walking Company                    18-10475

 05/22/2018          309 TM Wellington Green Mall GP               Dustin P. Branch, Esq.                     Ballard Spahr LLP                   2029 Century Park East, Suite 800                                  Los Angeles          CA           90067                        $9,630.35 General Unsecured                      The Walking Company                    18-10475

 05/22/2018          316 TM Williow Bend Shops, L.P.               Dustin P. Branch, Esq.                     Ballard Spahr LLP                   2029 Century Park East, Suite 800                                  Los Angeles          CA           90067                        $4,592.45 Admin Priority                         The Walking Company                    18-10475

 05/22/2018          316 TM Williow Bend Shops, L.P.               Dustin P. Branch, Esq.                     Ballard Spahr LLP                   2029 Century Park East, Suite 800                                  Los Angeles          CA           90067                        $5,126.24 General Unsecured                      The Walking Company                    18-10475

 07/02/2018          368 Town of Trumbull - Tax Collector          c/o James M. Nugent                        Town of Trumbull                    One New Haven Avenue, Suite 100                                    Milford              CT           06460                        $1,936.08 Priority              A     04/24/2018 The Walking Company Holdings, Inc.     18-10474
 05/21/2018          265 Travis County                             c/o Kay D. Brock                           PO Box 1748                                                                                            Austin               TX           78767                        $4,650.69 Secured                                The Walking Company Holdings, Inc.     18-10474
                                                                                                              200 East Long Lake Road, Suite
 05/14/2018          206 TRG IMP LLC                               The Taubman Company                        300                                                                                                    Bloomfield Hills     MI           48304                       $23,811.68 Admin Priority                         The Walking Company Holdings, Inc.     18-10474
                                                                                                              200 East Long Lake Road, Suite
 05/14/2018          206 TRG IMP LLC                               The Taubman Company                        300                                                                                                    Bloomfield Hills     MI           48304                       $34,090.09 General Unsecured                      The Walking Company Holdings, Inc.     18-10474
 04/24/2018           89 TRUMBULL TAX COLLECTOR                    DONNA PELLITTERI, TAX COLLECTOR            5866 MAIN STREET                    PO BOX 110326                                                      TRUMBULL             CT           06611-0326                      $38.10 Priority                               The Walking Company Holdings, Inc.     18-10474

 05/22/2018          314 TWC Chandler LLC                          Dustin P. Branch, Esq.                     Ballard Spahr LLP                   2029 Century Park East, Suite 800                                  Los Angeles          CA           90067                       $10,788.87 Admin Priority                         The Walking Company                    18-10475

 05/22/2018          314 TWC Chandler LLC                          Dustin P. Branch, Esq.                     Ballard Spahr LLP                   2029 Century Park East, Suite 800                                  Los Angeles          CA           90067                       $22,849.77 General Unsecured                      The Walking Company                    18-10475

 05/22/2018          293 TWC Tucson, LLC                           Dustin P. Branch, Esq.                     Ballard Spahr LLP                   2029 Century Park East, Suite 800                                  Los Angeles          CA           90067                       $13,369.36 Admin Priority                         The Walking Company                    18-10475
                                                                                                              200 East Long Lake Road, Suite
 05/15/2018          214 Twelve Oaks Mall, LCC                     The Taubman Company                        300                                                                                                    Bloomfield Hills     MI           48304                       $16,100.76 Admin Priority                         The Walking Company Holdings, Inc.     18-10474
                                                                                                              200 East Long Lake Road, Suite
 05/15/2018          214 Twelve Oaks Mall, LCC                     The Taubman Company                        300                                                                                                    Bloomfield Hills     MI           48304                      $23,446.15 General Unsecured                       The Walking Company Holdings, Inc.     18-10474
 05/07/2018          175 TXU Energy Retail Company LLC             c/o Bankruptcy Department                  PO Box 650393                                                                                          Dallas               TX           75265-0393                   $175.29 General Unsecured                        The Walking Company                    18-10475
 05/13/2018          203 Tyree Rodgers                                                                        455 Pin Oak Dr Nw                                                                                      Christiansburg       VA           24073                  BLANK          General Unsecured      A                The Walking Company Holdings, Inc.     18-10474

 04/30/2018          125 Tysons Corner Holdings LLC                c/o Dustin P. Branch, Esq.                 Ballard Spahr LLP                   2029 Century Park East, Suite 800                                  Los Angeles          CA           90067-2909                  $16,173.55 Admin Priority                         The Walking Company                    18-10475

 04/30/2018          125 Tysons Corner Holdings LLC                c/o Dustin P. Branch, Esq.                 Ballard Spahr LLP                   2029 Century Park East, Suite 800                                  Los Angeles          CA           90067-2909                 $318,164.88 General Unsecured                      The Walking Company                    18-10475

 08/13/2018          405 Tysons Corner Holdings LLC                c/o Dustin P. Branch, Esq.                 Ballard Spahr LLP                   2029 Century Park East, Suite 800                                  Los Angeles          CA           90067-2909                  $16,631.78 Admin Priority        A                The Walking Company                    18-10475
                         U.S. Bank National Association, as                                                   c/o Sheppard Mullin Richter &
 05/15/2018          226 Trustee, et al                            Attn Alan Feld                             Hampton LLP                         333 South Hope Street                                              Los Angeles          CA           90071                        $4,115.00 Admin Priority                         The Walking Company Holdings, Inc.     18-10474
                         U.S. Bank National Association, as                                                   c/o Sheppard Mullin Richter &
 05/15/2018          226 Trustee, et al                            Attn Alan Feld                             Hampton LLP                         333 South Hope Street                                              Los Angeles          CA           90071                        $8,376.70 General Unsecured                      The Walking Company Holdings, Inc.     18-10474
                         U.S. Bank, N.A. dba U.S. Bank Equipment
 04/17/2018           49 Finance                                   U.S. Bank Equipment Finance                1310 Madrid Street                                                                                     Marshall             MN           56258                       $56,687.47   General Unsecured                    The Walking Company                    18-10475
 08/06/2018          400 U.S. Customs and Border Protection        Attn Revenue Division, Bankruptcy Team     6650 Telecom Dr., Suite 100                                                                            Indianapolis         IN           46278                  UNLIQUIDATED      Priority                             The Walking Company                    18-10475
 04/23/2018           81 ULTRA FORCE LLC                                                                      925 N NEW HOPE RD                                                                                      GASTONIA             NC           28054                        $8,795.23   General Unsecured                    The Walking Company                    18-10475
 04/23/2018           78 Unitil                                    c/o Credit Department                      5 McGuire St                                                                                           Concord              NH           03301                         $190.70    General Unsecured                    The Walking Company Holdings, Inc.     18-10474

 05/22/2018          285 US Centennial Vancouver Mall LLC          Dustin P. Branch, Esq.                     Ballard Spahr LLP                   2029 Century Park East, Suite 800                                  Los Angeles          CA           90067                        $5,257.74 Admin Priority                         The Walking Company                    18-10475

 05/22/2018          285   US Centennial Vancouver Mall LLC        Dustin P. Branch, Esq.                     Ballard Spahr LLP                   2029 Century Park East, Suite 800                                  Los Angeles          CA           90067                        $8,873.95   General Unsecured                    The Walking Company                    18-10475
 05/01/2018          139   UTC Venture LLC                         Attn Niclas A. Ferland                     LeClairRyan, PLLC                   545 Long Wharf Drive, 9th Floor                                    New Haven            CT           06511                        $3,013.31   General Unsecured                    The Walking Company                    18-10475
 05/01/2018          143   V F Mall LLC                            Attn Niclas A. Ferland                     LeClairRyan, PLLC                   545 Long Wharf Drive, 9th Floor                                    New Haven            CT           06511                       $24,859.99   General Unsecured                    The Walking Company                    18-10475
 06/26/2018          365   V F Mall LLC                            Attn Niclas A. Ferland                     LeClairRyan, PLLC                   545 Long Wharf Drive, 9th Floor                                    New Haven            CT           06511                      $274,803.67   General Unsecured   A     06/13/2018 The Walking Company                    18-10475
 05/01/2018          140   Valencia Town Center Venture, L.P.      Attn Niclas A. Ferland                     LeClairRyan, PLLC                   545 Long Wharf Drive, 9th Floor                                    New Haven            CT           06511                        $2,009.23   General Unsecured                    The Walking Company                    18-10475
 07/18/2018          382   Ventura County Tax Collector            Attn Bankruptcy                            800 S. Victoria Ave                                                                                    Ventura              CA           93009-1290                  $19,438.85   Priority                             The Walking Company Holdings, Inc.     18-10474


In re The Walking Company Holdings, Inc.                                                                                                                                                                                                                                                                                                                                     10/5/2018 6:13 PM
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                                                                                                                                                                                   Claims Register Report
                                                                                                                                                                             Date Range:03/06/2018-10/05/2018




 Date Filed Claim No.               Creditor Name                         Creditor Notice Name                      Address 1                       Address 2                         Address 3                      City             State       Zip      Country   Claim Amount               Nature     A R   A/R Date               Debtor Name              Debtor Number
 07/18/2018       383 Ventura County Tax Collector             Attn Bankruptcy                          800 S. Victoria Ave                                                                                 Ventura              CA           93009-1290                  $3,051.66    Priority                             The Walking Company                  18-10475
 04/29/2018       114 VERONICA CASTRO                                                                   3424 SW 21 STREET                                                                                   OKLAHOMA CITY        OK           73108-0000                    $108.32    General Unsecured                    The Walking Company                  18-10475
 06/13/2018       351 VF Mall LLC                              Attn Niclas A. Ferland                   LeClairRyan, PLLC                545 Long Wharf Drive, 9th Floor                                    New Haven            CT           06511                     $274,803.67    Priority            A     05/01/2018 The Walking Company                  18-10475
 04/27/2018       115 Victoria Figueroa                                                                 4155 W. Twain Ave., M216                                                                            Las Vegas            NV           89103                       $6,150.00    Priority                             The Walking Company Holdings, Inc.   18-10474
 03/27/2018        16 Vorys, Sater, Seymour and Pease LLP      Attn Brenda K. Bowers, Esq               52 East Gay Street               PO Box 1008                                                        Columbus             OH           43216-1008                  $2,888.75    General Unsecured                    The Walking Company Holdings, Inc.   18-10474
 08/21/2018       409 Wake County Revenue Department                                                    301 S. McDowell St. Ste 3800                                                                        Raleigh              NC           27601                       $1,218.86    General Unsecured                    The Walking Company Holdings, Inc.   18-10474
 04/26/2018       102 WASHINGTON COUNTY                        WASHINGTON COUNTY TAX COLLECTOR          155 N. 1ST AVE #130                                                                                 HILLSBORO            OR           97124                       $6,067.45    Secured                              The Walking Company Holdings, Inc.   18-10474
 03/28/2018        23 WASHOE COUNTY TREASURER                                                           P.O. BOX 30039                                                                                      RENO                 NV           89520-3039                    $881.73    Priority                             The Walking Company Holdings, Inc.   18-10474
 04/25/2018       104 WASTE MANAGEMENT                         BANKRUPTCY                               2625 W. GRANDVIEW RD #150                                                                           PHOENIX              AZ           85023                          $40.81    General Unsecured                    The Walking Company Holdings, Inc.   18-10474
                      WBCMT 2007-C33 Independence Center
 05/22/2018       287 LLC                                      Dustin P. Branch, Esq.                   Ballard Spahr LLP                2029 Century Park East, Suite 800                                  Los Angeles          CA           90067                       $25,177.93 Admin Priority                         The Walking Company                  18-10475
                      WBCMT 2007-C33 Independence Center
 05/22/2018       287 LLC                                      Dustin P. Branch, Esq.                   Ballard Spahr LLP                2029 Century Park East, Suite 800                                  Los Angeles          CA           90067                       $12,522.74 General Unsecured                      The Walking Company                  18-10475
 04/16/2018        46 WE Energies                              Attn Bankruptcy                          333 W Everett St                                                                                    Milwaukee            WI           53203                        $1,697.44 General Unsecured                      The Walking Company Holdings, Inc.   18-10474
 05/01/2018       141 WEA Southcenter LLC                      Attn Niclas A. Ferland                   LeClairRyan, PLLC                545 Long Wharf Drive, 9th Floor                                    New Haven            CT           06511                        $3,438.55 General Unsecured                      The Walking Company                  18-10475
                                                                                                                                         2700 S Price Rd, 3rd Floor, MAC
 06/04/2018          343 Wells Fargo Equipment Finance         Attn R. Owens                            WFEF                             S3928-034                                                          Chandler             AZ           85286                        $1,972.53 Secured                                The Walking Company Holdings, Inc.   18-10474
                                                                                                        200 East Long Lake Road, Suite
 05/15/2018          216 West Farms Mall, LLC                  The Taubman Company                      300                                                                                                 Bloomfield Hills     MI           48304                       $23,312.36 Admin Priority                         The Walking Company Holdings, Inc.   18-10474
                                                                                                        200 East Long Lake Road, Suite
 05/15/2018          216 West Farms Mall, LLC                  The Taubman Company                      300                                                                                                 Bloomfield Hills     MI           48304                       $37,762.39 General Unsecured                      The Walking Company Holdings, Inc.   18-10474

 05/22/2018          296 Westcor SanTan Village LLC            Dustin P. Branch, Esq.                   Ballard Spahr LLP                2029 Century Park East, Suite 800                                  Los Angeles          CA           90067                        $9,976.97 Admin Priority                         The Walking Company                  18-10475

 05/22/2018          296 Westcor SanTan Village LLC            Dustin P. Branch, Esq.                   Ballard Spahr LLP                2029 Century Park East, Suite 800                                  Los Angeles          CA           90067                       $39,706.25 General Unsecured                      The Walking Company                  18-10475
                         Westland Garden State Plaza Limited
 05/01/2018          129 Partnership                           Attn Niclas A. Ferland                   LeClairRyan, PLLC                545 Long Wharf Drive, 9th Floor                                    New Haven            CT           06511                       $65,078.98   General Unsecured                    The Walking Company                  18-10475
 03/16/2018            3 WG Park L.P.                          Jeffrey Kurtzman, Esquire                401 S. 2nd Street, Suite 200                                                                        Philadelphia         PA           19147                       $10,031.17   Admin Priority                       The Walking Company                  18-10475
 03/16/2018            3 WG Park L.P.                          Jeffrey Kurtzman, Esquire                401 S. 2nd Street, Suite 200                                                                        Philadelphia         PA           19147                       $14,889.02   General Unsecured                    The Walking Company                  18-10475
 04/03/2018           32 White Oak Commercial Finance LLC                                               1700 Broadway,19th Floor                                                                            New York             NY           10019                        $9,899.74   Admin Priority                       The Walking Company                  18-10475
 04/03/2018           36 White Oak Commercial Finance LLC      Attn Donte J. Lewis                      1700 Broadway,19th Floor                                                                            New York             NY           10019                        $9,899.74   General Unsecured                    The Walking Company Holdings, Inc.   18-10474
 05/31/2018          337 Wilhelmina Internationa Inc.                                                   300 Park Avenue South                                                                               New York             NY           10018                        $9,052.71   General Unsecured                    The Walking Company Holdings, Inc.   18-10474
 05/31/2018          338 Wilhelmina International Inc.                                                  300 Park Avenue South                                                                               New York             NY           10018                        $9,052.71   General Unsecured   A                The Walking Company Holdings, Inc.   18-10474
                                                               Joan Glenn-Katzakis, Associate General                                    600 Superior Avenue East Suite
 05/22/2018          318   Wiregrass SPE, LLC                  Counsel                                  c/o QIC Properties Us, Inc.      1500                                                               Cleveland            OH           44114                        $7,213.16   General Unsecured                    The Walking Company Holdings, Inc.   18-10474
 05/03/2018          164   Wisconsin Bell, Inc.                Karen A. Cavagnaro - Lead Paralegal      ATT Services, Inc                One ATT Way, Room 3A104                                            Bedminster           NJ           07921                         $126.14    General Unsecured                    The Walking Company                  18-10475
 07/05/2018          370   Wisconsin Department of Revenue     Special Procedures Unit                  PO Box 8901                                                                                         Madison              WI           53708-8901                   $1,000.00   Priority                             The Walking Company Holdings, Inc.   18-10474
 07/05/2018          370   Wisconsin Department of Revenue     Special Procedures Unit                  PO Box 8901                                                                                         Madison              WI           53708-8901                    $250.00    General Unsecured                    The Walking Company Holdings, Inc.   18-10474
 04/24/2018           96   YALEET INC                          CUST DROP SHIPMENTS                      80 RULAND RD, STE 2                                                                                 MELVILLE             NY           11747-0000                  $11,297.62   General Unsecured                    The Walking Company                  18-10475
                                                               Joan Glenn-Katzakis, Associate General                                    600 Superior Avenue East Suite
 05/22/2018          312 Yonkers Associates, LLC               Counsel                                  c/o QIC Properties Us, Inc.      1500                                                               Cleveland            OH           44114                  UNLIQUIDATED General Unsecured                         The Walking Company Holdings, Inc.   18-10474
 05/08/2018          182 Zabrina Nowlin                                                                 6005 Carver Blvd                                                                                    Charlotte            NC           28269                       $1,631.01 Priority                                The Walking Company Holdings, Inc.   18-10474
 05/07/2018          176 Zurich American Insurance Company                                              PO Box 68549                                                                                        Schaumburg           IL           60196                           $0.00 General Unsecured                       The Walking Company Holdings, Inc.   18-10474




In re The Walking Company Holdings, Inc.                                                                                                                                                                                                                                                                                                                          10/5/2018 6:13 PM
Case No. 18-10474 (LSS)                                                                                                                                                                Page 9 of 9                                                                                                                                                   Claims Register by Name 181005
